Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 1 of 92 PageID# 4646

                                                                       956


   1                       UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF VIRGINIA
   2                            ALEXANDRIA DIVISION

   3   UNITED STATES OF AMERICA,            )   Case 1:18-cr-00457
                                            )
   4                       Plaintiff,       )
                                            )
   5            v.                          )   Alexandria, Virginia
                                            )   July 22, 2019
   6   BIJAN RAFIEKIAN,                     )   9:16 a.m.
                                            )
   7                       Defendant.       )   Day 6 (AM Session)
                                            )   Pages 956 - 1047
   8

   9                            TRANSCRIPT OF TRIAL

  10              BEFORE THE HONORABLE ANTHONY J. TRENGA

  11                  UNITED STATES DISTRICT COURT JUDGE

  12                                   AND A JURY

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25       COMPUTERIZED TRANSCRIPTION OF STENOGRAPHIC NOTES


         Rhonda      F.   Montgomery    OCR-USDC/EDVA     (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 2 of 92 PageID# 4647

                                                                       957


   1   APPEARANCES:

   2   FOR THE UNITED STATES OF AMERICA:

   3         JAMES P. GILLIS, ESQUIRE
             EVAN N. TURGEON, ESQUIRE
   4         JOHN T. GIBBS, ESQUIRE
             S. KATE SWEETEN, ESQUIRE
   5         OFFICE OF THE UNITED STATES ATTORNEY
             2100 Jamieson Avenue
   6         Alexandria, Virginia 22314
             (703) 299-3700
   7
       FOR BIJAN RAFIEKIAN:
   8
             ROBERT P. TROUT, ESQUIRE
   9         TROUT, CACHERIS & SOLOMON, PLLC
             1627 I Street, N.W., Suite 1130
  10         Washington, D.C. 20006
             (202) 464-3300
  11
             MARK J. MACDOUGALL, ESQUIRE, PRO HAC VICE
  12         STACEY H. MITCHELL, ESQUIRE, PRO HAC VICE
             JOHN C. MURPHY, ESQUIRE, PRO HAC VICE
  13         JAMES E. TYSSE, ESQUIRE
             AKIN, GUMP, STRAUSS, HAUER & FELD, LLP
  14         Robert S. Strauss Building
             1333 New Hampshire Avenue, N.W.
  15         Washington, D.C. 20036-1564
             (202) 887-4000
  16
       THE DEFENDANT, BIJAN RAFIEKIAN, IN PERSON
  17

  18

  19

  20

  21

  22

  23

  24

  25


         Rhonda    F.   Montgomery    OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 3 of 92 PageID# 4648

                                                                       958


   1                                 I N D E X

   2   DEFENDANT'S WITNESS                    EXAMINATION                PAGE

   3   Mark Mykleby                           Direct                     997
                                              Cross                      1002
   4

   5

   6

   7

   8

   9

  10

  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25


         Rhonda    F.   Montgomery    OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 4 of 92 PageID# 4649

                                                                       959


   1                THE COURT:       Criminal Case 18-cr-457, United

   2   States v. Bijan Rafiekian.

   3                Counsel, will you please note your

   4   appearances for the record.

   5                MR. GIBBS:       Good morning, Your Honor.         John

   6   Gibbs, Jim Gillis, Evan Turgeon, Latoya Horsford, Katie

   7   Sweeten, and Bryan Alfredo on behalf of the United

   8   States.

   9                THE COURT:       Welcome.

  10                MR. MACDOUGALL:          Good morning, Your Honor.

  11   The defendant, Mr. Rafiekian, is present in court.

  12   Mark MacDougall for Mr. Rafiekian along with Robert

  13   Trout, Stacey Mitchell, James Tysse, and our senior

  14   legal assistant, Adria Hicks, is with us today.

  15                Thank you, Your Honor.

  16                THE COURT:       All right.     Welcome to everyone.

  17                Mr. Gibbs, do you have any issues you want to

  18   raise?     I have my own list but --

  19                MR. GIBBS:       No, Judge.     We'll take up your

  20   list.

  21                THE COURT:       Okay.     Mr. MacDougall?

  22                MR. MACDOUGALL:          The same, Your Honor.       We'll

  23   work with your list.

  24                THE COURT:       All right.     I reviewed the

  25   instructions over the weekend and drafted up the


         Rhonda    F.   Montgomery     OCR-USDC/EDVA      (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 5 of 92 PageID# 4650

                                                                       960


   1   revised instructions as to the substantive offenses

   2   themselves, and I gave those to you.              Before I give

   3   those, I'll consider further argument on it.

   4                I will tell the United States:            I did those

   5   without the benefit of your instructions.               Although,

   6   I've now reviewed them, and I think I tried to capture

   7   pretty much what you were trying to do in those.                  I'm

   8   sure you will have some other comments you would like

   9   me to consider, but we'll take that up, obviously,

  10   before I give them.

  11                Let me tell you a couple of other things that

  12   I have concluded in connection with the instructions:

  13                After reviewing this issue, I have concluded

  14   that a showing of willfulness is not required with

  15   respect to proving that conduct does not constitute a

  16   legal commercial transaction because in violation of

  17   Section 612(a), that statute simply is a blanket

  18   prohibition on acting as a foreign agent without

  19   requiring that it be done willfully; although, criminal

  20   liability would only attach upon such a showing.                  So

  21   the willfulness issue has not been included with

  22   respect to the object of the conspiracy that

  23   constitutes a violation of Section 951.

  24                I've also concluded that I will give an

  25   advice of counsel instruction, particularly in light of


         Rhonda    F.   Montgomery    OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 6 of 92 PageID# 4651

                                                                       961


   1   the conspiracy charge.

   2                The Court is not going to give a missing

   3   witness instruction.          As the parties have candidly

   4   conceded, there's been no restriction on access to

   5   General Flynn, who is subject to subpoena by both

   6   sides.     And based on all the circumstances and

   7   information available to the Court, instructing the

   8   jury to draw the requested inferences would not be

   9   warranted.

  10                With respect to materiality, it seemed to me

  11   that the only issue as to which materiality is an issue

  12   is within the context of the 618(a)(2) violation that's

  13   alleged as part of the conspiracy.             So I've included

  14   the materiality instruction within the context, again,

  15   of the conspiracy charge.

  16                There really is no settled law on how to

  17   articulate materiality within the context of this case.

  18   I mentioned the Escobar decision which was within the

  19   context of the False Claims Act.             There the Supreme

  20   Court made clear that something more than a potential

  21   to influence is required.          That statute is, obviously,

  22   very different since it deals with what's material with

  23   respect to a particular contract or a particular

  24   contract requirement.

  25                But I do believe that something more than


         Rhonda    F.   Montgomery     OCR-USDC/EDVA      (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 7 of 92 PageID# 4652

                                                                       962


   1   simply potential to influence was required, and I've

   2   tried to frame it in terms of the objectives of the

   3   disclosure requirement, albeit in more summary form.

   4                I know the government's proposed jury

   5   instruction sort of went down that line in a lot more

   6   detail, but I'll entertain more argument on the

   7   materiality definition.

   8                Finally, with respect to the application of

   9   Rule 801(d)(2)(E), the Court is going to adhere to its

  10   previous rulings with respect to the application of

  11   Rule 801(d)(2)(E), specifically that the out-of-court

  12   statements of either Mr. Alptekin or General Flynn or

  13   any other person are not admissible under the hearsay

  14   exception for coconspirator statements.               In that

  15   regard, the Court has considered the government's

  16   argument that 801(d)(2)(E) does not require a criminal

  17   conspiracy and can be based on lawful conduct involving

  18   a common plan or a joint venture.

  19                The Court appreciates that there are courts

  20   that have adopted that view; although, others have not.

  21   The Court has not found anything said by the Fourth

  22   Circuit that would be controlling or even predictive of

  23   how it would decide that issue.            In the Court's view,

  24   the notion that 801(d)(2)(E) can apply to any lawful

  25   common plan is inconsistent with the language and


         Rhonda    F.   Montgomery    OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 8 of 92 PageID# 4653

                                                                       963


   1   purpose of the coconspirator hearsay exception and

   2   would essentially collapse 801(d)(2)(E) with

   3   801(d)(2)(D) and essentially make it a criminal

   4   proceeding against someone who is a corporate officer

   5   or an employee, nearly any intercorporate statement by

   6   any officer, director, or employee a result that the

   7   Court can't justify either under the rule or even the

   8   constitutional protections applicable to criminal

   9   proceedings.       So the Court will adhere to its previous

  10   ruling.

  11                That's pretty much all I have.

  12                Anything, Mr. Gibbs or Mr. Gillis?

  13                MR. GILLIS:       Your Honor, obviously, we've

  14   all, at least those who hoped to argue the case today

  15   on our side in particular, which would be me, have

  16   spent a great deal of time putting together our

  17   argument on the conspiracy.           If you would give me one

  18   last opportunity to try to persuade you, if you are

  19   willing to hear it, I would like to address that one

  20   more time.

  21                THE COURT:       Well, I'm not precluding you from

  22   arguing that there was a conspiracy.

  23                MR. GILLIS:       What I was going to propose,

  24   Your Honor, is with respect to the finding on the

  25   preponderance of the evidence.            I would like an


         Rhonda    F.   Montgomery     OCR-USDC/EDVA      (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 9 of 92 PageID# 4654

                                                                       964


   1   opportunity to argue why the Court should find that

   2   there was a preponderance.

   3                THE COURT:       All right.

   4                MR. GILLIS:       I know, Your Honor, that you

   5   have considered all of the evidence carefully, and I

   6   just want to make sure that we have articulated

   7   carefully our response to that.            I'd like you to

   8   begin -- and I'm sure you're familiar with it -- with

   9   this 8(b) that begins these communications.                It is on

  10   July 27, Your Honor, 2016.           It's just a few days after

  11   the coup in Turkey, which took place on the 15th.

  12         (There's a knock on the jury room door.)

  13                MR. GILLIS:       There's a knock at the door,

  14   Your Honor.

  15                THE COURT SECURITY OFFICER:           It's okay.

  16                MR. GILLIS:       From that exhibit, Your Honor,

  17   the defendant tells Alptekin:            We are ready --

  18                It's clear from that document that there were

  19   conversations that preceded that.             That's not merely

  20   speculative.       It's a fair inference to draw from the

  21   language of that very writing, and he goes on.                 Then in

  22   8(b) it's clear that he's not only talking about a

  23   project that they had discussed before, but it's a

  24   project that Alptekin had to confer with the foreign

  25   minister of Turkey about.


         Rhonda    F.   Montgomery     OCR-USDC/EDVA      (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 10 of 92 PageID# 4655

                                                                       965


    1                Again, this is at a critical time, after a

    2   coup that shook the foundations of the Turkish

    3   government.        This is an important enough engagement to

    4   involve the foreign minister of Turkey, the minister of

    5   economy, the council of ministers, and the prime

    6   minister himself.

    7                In the days following the coup -- this is not

    8   about tourism or the business community or anything of

    9   the sort.        The defendant admits that he was engaged

   10   during this time in an effort to obtain business from

   11   the government of Turkey, which would be under the

   12   government of Turkey's control and direction.                It would

   13   be an outright contract between the two.

   14                Alptekin says he's going to report back to

   15   the defendant after his meeting with the foreign

   16   minister.        It's clear from what the defendant said to

   17   Alptekin -- this is all in Government's Exhibit 8B --

   18   that whatever he had to say to him that was going to be

   19   communicated to the foreign minister was very good

   20   news.   It was important enough for Alptekin to bring it

   21   to the attention of the foreign minister less than two

   22   weeks after the coup.

   23                Then the next e-mail in that chain shows the

   24   defendant responding directly to Alptekin's statement

   25   about meeting with the foreign minister.               The defendant


          Rhonda    F.    Montgomery   OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 11 of 92 PageID# 4656

                                                                       966


    1   says:   We're ready to engage in what needs to be done.

    2                Then he goes on to say this, which is

    3   critical, Your Honor, for this conspiracy.                 You've

    4   asked what is the evidence of conspiracy?               Obviously,

    5   there's not going to be any direct evidence of it.                    But

    6   taking all the circumstances together, this shows that

    7   what began as something that was admittedly under the

    8   direction and control of the Turkish government stayed

    9   the same throughout this entire project right up until

   10   the time that the op-ed was written.

   11                That is clear because in 8B, at the bottom of

   12   that e-mail -- and if it would be helpful, Your Honor,

   13   I can have --

   14                THE COURT:        I have it.

   15                MR. GILLIS:        The defendant says:        Turkey's

   16   security and stability is extremely important to world

   17   security.        Erdogan can lead this campaign against

   18   radical Islam.

   19                Which throughout has been code for Gulen.

   20   That was the theme, as I said, that carried through.

   21   It was a drum that the defendant was going to beat

   22   throughout the entire project, whether it was when he

   23   was calling it Truth or when he was calling it

   24   Confidence.        It continued throughout, including, as I

   25   said, to the op-ed.


          Rhonda    F.    Montgomery     OCR-USDC/EDVA     (703)    299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 12 of 92 PageID# 4657

                                                                       967


    1                Now, in there, he says:         At the right time, I

    2   will include our partners in the communication.

    3                Now, what's significant about that, Your

    4   Honor, is not that that -- they're trying to say -- you

    5   know, they're trying to talk more about wins than

    6   losses.    This has been talking about confidentiality

    7   throughout this thing, and at the right time, to

    8   include the others is only once they stop talking about

    9   Truth and the Turkish ministers and Gulen directly and

   10   they start talking about Confidence in the business

   11   community and whatnot, hiring them.

   12                So what that 8B tells you is that the

   13   defendant is aware of Alptekin's connections at the

   14   highest level.      He's aware that Alptekin is reporting

   15   to him communicating what the foreign minister and

   16   other ministers had to say about this project and that

   17   this being right after the time of the coup is an

   18   extremely important project that's got nothing to do

   19   with tourism or foreign investment in the business

   20   community of Turkey.

   21                The whole project at that time is all about

   22   Gulen.     And as you've heard from the witnesses and

   23   you've seen from the documents in this case, that

   24   remained the single-minded focus of this project

   25   throughout both before and after they switched the name


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 13 of 92 PageID# 4658

                                                                       968


    1   of the project.

    2               And what's important about that, Your Honor,

    3   is that they are operating under -- and now if you

    4   look -- sorry.      If they're operating under the

    5   direction and control of the Turkish government, you

    6   can see that from Exhibit 9, which is a continuation of

    7   e-mail exhibits in 8B.

    8               And this exhibit shows you, again, that

    9   Alptekin is the conduit to the defendant for the

   10   communications from the ministers of Turkey, and the

   11   minister of Turkey is taking this project very serious

   12   because he wanted to meet with the defendant and Flynn.

   13   He wanted the defendant and Flynn and Alptekin to

   14   formulate what kind of output they could generate, and

   15   he wanted them to provide an indicative budget.

   16               Your Honor, that is all three, direction and

   17   control.    It is direction.        The foreign minister wants

   18   to meet with them, directing them to meet with them,

   19   directing them to formulate the kind of output they

   20   could provide, and directing them to come up with an

   21   indicative budget.        All of this is coming from the

   22   foreign minister of Turkey.

   23               Now, if you turn to Exhibit 10, you're

   24   familiar with this one because this is where they first

   25   mention in the subject Truth.           Those nine bullet


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 14 of 92 PageID# 4659

                                                                       969


    1   points, which you've seen throughout, those nine bullet

    2   points become exactly the same bullet points that they

    3   used to describe the Confidence project.               Once, only

    4   once they bring in the other people at FIG.

    5               And as those bullet points show, Rafiekian

    6   starts off by saying he wants Alptekin's active

    7   participation in this project, and that's leading up to

    8   the 20 percent cut that Alptekin is going to get.                   And

    9   that, in the later bullet points, when it's talked

   10   about Covington goes from to secure your active

   11   participation when he's talking to Alptekin.                And then

   12   when he's talking to the group about Confidence, it's

   13   to secure the active participation of an outside

   14   advisor.    And that is included -- his 20 percent is

   15   specifically included in the budget on this thing that

   16   he's passing out.

   17               Now, in Exhibit 15, Your Honor, this is the

   18   one that attaches to it the article.             You can see from

   19   15 that Alptekin is responding directly to the nine

   20   bullet points for Truth that the defendant had set

   21   forth and sent to him.         In that, he says:        I met with

   22   the MFA and explained our proposed approach.                We'll

   23   strategize on how best to approach that meeting.

   24               This article that he attaches shows the depth

   25   of the crisis that we are facing, and that article,


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 15 of 92 PageID# 4660

                                                                       970


    1   Exhibit 15A, is all about how the U.S. has turned in

    2   the wrong direction from their point of view.                 It's

    3   favorable to Gulen, and it's negative toward Erdogan.

    4   It points out specifically Turkey's efforts to

    5   extradite Gulen.        They point out that Turkey should be

    6   reminded that they have to follow the rule of law and

    7   they have to wait for the government's approval.

    8                Now, directly in response to this August 4

    9   e-mail, the defendant sets forth this famous analogy

   10   about Khomeini under the apple tree and comparing him

   11   to Gulen.        At the end of that, he returns to this

   12   refrain about the world's need for a strong leader with

   13   credibility in the Islamic faith.            And this, again,

   14   stays the theme throughout.

   15                On August 8, he's -- this is -- less than a

   16   meeting after the attempted coup.            Alptekin is

   17   responding back and says that he has had a long meeting

   18   with the minister of foreign affairs.              Alptekin

   19   explained what he and the defendant and Flynn could

   20   offer.

   21                So this is all indicative, Your Honor, of an

   22   agreement up to this point to work with the government

   23   of Turkey to paint Gulen as a bad figure who should be

   24   extradited, that we should raise up Erdogan, keep him

   25   close to us, and get rid of Gulen.


          Rhonda    F.    Montgomery   OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 16 of 92 PageID# 4661

                                                                       971


    1               THE COURT:       The conspiracy, though, is an

    2   agreement to do all of that unlawfully --

    3               MR. GILLIS:       Yes, sir.

    4               THE COURT:       -- that is, without the required

    5   notifications.

    6               MR. GILLIS:       Yes, sir.

    7               THE COURT:       Whether the defendant was

    8   required to file or whether he filed properly is a

    9   separate issue --

   10               MR. GILLIS:       Yes, sir.

   11               THE COURT:       -- from whether or not there was

   12   an agreement with somebody that he would not do that.

   13               MR. GILLIS:       Yes, sir.

   14               THE COURT:       And that's where I'm sort of

   15   pulling up short.

   16               MR. GILLIS:       All right.     So if I may, first,

   17   the importance of this then August 10 e-mail, if I may.

   18   August 10 --

   19               THE COURT:       Which exhibit?

   20               MR. GILLIS:       Government's Exhibit 16.

   21               THE COURT:       All right.

   22               MR. GILLIS:       Okay.    So on August 10, Your

   23   Honor, they get the green light from the minister of

   24   foreign affairs that after several meetings that he's

   25   had --


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 17 of 92 PageID# 4662

                                                                       972


    1                Do you want me to stop for a moment?

    2                THE COURT:        No.   I'm fine.

    3                MR. GILLIS:        Okay.   It's several meetings

    4   with the minister of commerce -- or, rather economy,

    5   the foreign minister about this project.               Alptekin

    6   tells the defendant -- while they're still calling it

    7   the Truth campaign, while it's still admittedly being

    8   done under the direction of the government of Turkey,

    9   he tells the defendant that he has a green light to

   10   discuss confidentiality, budget, and the scope of the

   11   contract.        That's on August 10.

   12                THE COURT:        Right.

   13                MR. GILLIS:        The very next day, August 11, is

   14   when all of a sudden there's this first reference.                   As

   15   the agent testified, it's the first reference to

   16   Confidence anywhere, and the defendant and Alptekin

   17   both lie to their attorneys about this notion that the

   18   government of Turkey had simply dropped the ball.                  They

   19   dropped the project, and suddenly Alptekin had decided

   20   to start this entirely different project completely

   21   unrelated to the one beforehand.            That was the

   22   testimony from the Covington lawyer, Mr. Kelner.

   23   That's the only testimony that's been on this.

   24                It is this lie, Your Honor, that overnight it

   25   goes from the government of Turkey directing and


          Rhonda    F.    Montgomery     OCR-USDC/EDVA     (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 18 of 92 PageID# 4663

                                                                       973


    1   controlling this effort.         Regardless of what you

    2   believe up until this point that there was some

    3   lawfulness to that agreement, overnight it goes from

    4   being the Truth project controlled by the government of

    5   Turkey about Gulen and it goes then to Confidence.                   The

    6   government of Turkey, we say, but under Alptekin

    7   supposedly being the one who is now interested in this

    8   project to improve or restore the confidence in the

    9   Turkish investment client.          And he says --

   10                THE COURT:      Weren't the two related?          Wasn't

   11   the testimony consistent that the two were related,

   12   that people viewed exposing and extradited Gulen as

   13   somehow related to restoring confidence in the

   14   environment in Turkey?

   15                MR. GILLIS:      Your Honor, that was a fig leaf

   16   that was applied.

   17                THE COURT:      Well, I'm just saying; wasn't

   18   that a part of the testimony?

   19                MR. GILLIS:      It was, Your Honor, at the very

   20   beginning.      What was testified to was at the very

   21   beginning, there's one or two references to this notion

   22   of restoring confidence.         Every witness testified that

   23   while -- in fact, some of them testified that from the

   24   get-go, it was about Gulen.          Some of them did testify

   25   that it was about restoring confidence in the Turkish


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 19 of 92 PageID# 4664

                                                                       974


    1   economy, but that never --

    2                THE COURT:      And confidence in or a better

    3   understanding of why President Erdogan was doing what

    4   he was doing.

    5                MR. GILLIS:      Yes.   Again, that was ostensibly

    6   the purpose that was given at the very beginning in the

    7   first presentation, the first communications with

    8   Sphere, with Mr. Courtovich about what this project was

    9   supposedly about.       That initial faint in that direction

   10   stopped being the case and went from Gulen, Gulen,

   11   Gulen.     Nothing about any investigations about the

   12   business climate, nothing about the American business

   13   attitudes toward Turkey.         Nothing about that.         It's all

   14   about dirt on Gulen.         It's all about getting, you know,

   15   where is the action by DOJ who, by the way, is --

   16                THE COURT:      How is that probative, that

   17   switch as you've described it --

   18                MR. GILLIS:      Yes.

   19                THE COURT:      -- probative of an agreement to

   20   violate the registration requirement?

   21                MR. GILLIS:      Yes, sir.     Well, first of all,

   22   the switch is powerful evidence that overnight there's

   23   a lie here, right?        There's a lie overnight.          There's

   24   no way in the world that the government of Turkey

   25   dropped this after giving the green light from the


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 20 of 92 PageID# 4665

                                                                       975


    1   foreign minister on the 10th, that overnight they

    2   switched to confidence in the investment climate, which

    3   was never mentioned before this switch and never truly

    4   mentioned in any detail, nor gone into in any sort of

    5   way in the project.

    6                But the part about it being completely

    7   unrelated is a lie that he told that -- whether you

    8   view Gulen and the investment climate as some sort of

    9   connection -- which he tried to say yes, but then later

   10   completely ignored.        What happened between the 10th and

   11   the 11th is a lie.        It was just a flat-out lie.

   12                THE COURT:       I guess --

   13                MR. GILLIS:       And so, Your Honor --

   14                THE COURT:       Let me ask this.

   15                MR. GILLIS:       Yes, sir.

   16                THE COURT:       How do you square -- again, I'm

   17   dealing with this in my role as a fact-finder under

   18   Rule 104 --

   19                MR. GILLIS:       Yes, sir.

   20                THE COURT:       -- which can be based on all

   21   kinds of things.        It doesn't even have to be admissible

   22   evidence.        In fact, the Court had considered matters

   23   that aren't yet in evidence in reaching its first

   24   ruling.

   25                But how do you square this notion of an


          Rhonda    F.   Montgomery     OCR-USDC/EDVA      (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 21 of 92 PageID# 4666

                                                                       976


    1   agreement to do all the things that you're talking

    2   about, a conspiracy to do that in violation of the

    3   registration requirements --

    4               MR. GILLIS:       Yes, sir.

    5               THE COURT:       -- with all the evidence that has

    6   been put in so far dealing with what was publically

    7   disclosed as to the interest and involvement of the

    8   Turkish government in exposing Gulen?

    9               MR. GILLIS:       Yes, sir.     Well, we're not

   10   contesting -- I mean, obviously, our first witness on

   11   there was that Turkey was trying its best to get Gulen

   12   extradited.

   13               THE COURT:       Right.

   14               MR. GILLIS:       That approach was not working.

   15   They had hired Robert Amsterdam.

   16               THE COURT:       I guess that's the question.            How

   17   do you square the notion that there was an agreement to

   18   conceal Turkey's involvement in exposing Gulen with all

   19   the public disclosures of Turkey's involvement with

   20   disclosing Gulen?

   21               MR. GILLIS:       Yes, sir.     How I square it is

   22   this:   First of all, it's not about the government

   23   trying to hide that it wanted Gulen extradited.                 It's

   24   not about that.

   25               What it's about and what the statute is


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 22 of 92 PageID# 4667

                                                                       977


    1   intended to prevent is getting Lieutenant General

    2   Michael T. Flynn, as the national security advisor to

    3   the republican candidate for president, for him to get

    4   out there and say that this guy has got to go.                 There's

    5   this -- and you'll see from the documents, and you'll

    6   see from the testimony -- you've heard from the

    7   testimony that the op-ed was part of this from the

    8   start.     They lied about that.        They said it was

    9   completely unrelated to the Turkey project.

   10                What happened is, first, you've got the

   11   e-mail, the first draft.           And I mentioned this before,

   12   but let me, if I can, remind the Court.              There's this

   13   blow-up at early November at FIG's office, and Alptekin

   14   is angry about it.        Nothing has happened.         The video

   15   hasn't been done, and basically, there's no progress.

   16   He says, Your Honor:           What am I going to show Ankara?

   17   Where is the media attention?           Where is congressional

   18   hearings?        Where is action by DOJ, parentheses,

   19   extradition?

   20                Following right after that, Your Honor:               What

   21   am I going to say to Ankara?           I've got to show progress

   22   to Ankara.

   23                It's immediately after that that the

   24   defendant then drafts this op-ed, and he sends it first

   25   to Alptekin.        He says there:     A promise made is a


          Rhonda    F.    Montgomery     OCR-USDC/EDVA     (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 23 of 92 PageID# 4668

                                                                       978


    1   promise kept.

    2                That is an agreement, Your Honor, and it's

    3   unlawful because it is not going to be disclosing

    4   Lieutenant General Michael T. Flynn that he's getting

    5   paid and encouraged to write this stuff as part of a

    6   90-day project that started off being directed by the

    7   government of Turkey.         In fact, the defendant himself

    8   in his e-mail postdating the agreement said:                We've

    9   been at work on this since July 15.

   10                So this is one long continuum that overlaps

   11   the time when it is admittedly under the direction and

   12   control of the Turkish government postdating the

   13   agreement to a point after it was supposedly this

   14   Confidence project.

   15                THE COURT:      All right.

   16                MR. GILLIS:      So how we square it, Your Honor,

   17   is in this way:       It is the entire purpose of this

   18   statute to prevent a high profile person and others --

   19   the Flynn Intel Group was certainly known to be

   20   affiliated with, run by, formed by Lieutenant General

   21   Flynn.     And those folks are out lobbying congressmen

   22   without telling them about who they're doing it for.

   23   They're out there trying to gin up more public

   24   attention on this.

   25                So everything that Alptekin is saying in the


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 24 of 92 PageID# 4669

                                                                       979


    1   meeting that he blew up about is what is trying to be

    2   fulfilled by the defendant in this article that says "a

    3   promise made is a promise kept."

    4               THE COURT:       All right.

    5               MR. GILLIS:       So, Your Honor, if you'll

    6   just --

    7               THE COURT:       All right.

    8               MR. GILLIS:       You know, I have gone this far.

    9               THE COURT:       Go ahead.

   10               MR. GILLIS:       If you'll indulge me for a

   11   couple of more minutes.

   12               Now, Your Honor, there is nothing.              As you

   13   heard, the first mention of Confidence is on August 11.

   14   The defendant claims and Alptekin claimed that the

   15   project that they were discussing with the government

   16   of Turkey was completely unrelated.             That has got to be

   17   very strong evidence of a conspiratorial agreement that

   18   we're not going to disclose that the government of

   19   Turkey has given the green light and wants an

   20   indicative budget, has directed them to maintain

   21   confidentiality.

   22               They've done all of this on the 10th, and

   23   overnight it switches to this.            They lie about it being

   24   completely unrelated.         That lie, Your Honor, is

   25   exceptionally strong proof that there was a tacit


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 25 of 92 PageID# 4670

                                                                       980


    1   understanding not to reveal the true purpose of this

    2   project.

    3               There's no mention in any of the e-mails, the

    4   thousands of e-mails that the agents scoured, no

    5   mention whatsoever of the government of Turkey dropping

    6   the ball or deciding they're not going to go through

    7   with the project.       But on the 10th of August, they say:

    8   You have the green light for it.            No evidence -- not

    9   only is there no -- there's positive evidence that they

   10   never mentioned it.

   11               Now, think about that, Your Honor.              You've

   12   got the prime minister being advised about this.                 It's

   13   being taken up by the council of ministers of Turkey.

   14   It has the active involvement of the foreign minister.

   15   Out of all of this, out of all of this, there's no

   16   mention -- wouldn't there -- there's a lot of e-mails

   17   before this, e-mail traffic, Skype chats, and whatnot

   18   about this project.        Wouldn't you see some e-mail,

   19   something that said, Gee, it's too bad we lost that

   20   contract with the Turkish minister.             We were so close.

   21   We had the green light and everything from the foreign

   22   minister of Turkey, and there's nothing.               They don't

   23   say a word about that.

   24               They don't say a word about it to anybody

   25   else, and they make a point that they don't say it to


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 26 of 92 PageID# 4671

                                                                       981


    1   anybody outside FIG.          But they don't say a word about

    2   it to Mike Boston, who's the project manager on this

    3   project that's doing exactly the same thing that they

    4   had promised to do under the earlier project.

    5                And the keeping of that secret and the

    6   failure to mention anything about it shows you very

    7   strongly that this is a lie.           It's a lie, and that

    8   means there's a tacit understanding not to register.

    9                And, Your Honor, with respect to the

   10   conspiracy not to register, what you'll see from the

   11   evidence is that, yes, Alptekin went to Robert Kelley.

   12   Flynn tells him -- you know, he comes out.                 McCauley

   13   sees him.        He comes out of the office of General Flynn.

   14   He tells McCauley:        The General wants me to file under

   15   FARA, but I've got a better way to keep it under the

   16   radar.

   17                He goes to his friend, Bob Kelley, who

   18   testified that he did this not as a lawyer, not as his

   19   lawyer but as his friend.

   20                He asked me a question.         I told him, you

   21   know, if it's a private client, then you can file under

   22   the LDA.

   23                That's it.       That's the only thing he does.

   24   Again, he's tell -- that alone is a lie, I submit,

   25   based on all of what you've heard so far, that the


          Rhonda    F.   Montgomery     OCR-USDC/EDVA      (703)    299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 27 of 92 PageID# 4672

                                                                       982


    1   government of Turkey is really the one behind this.

    2                But the most telling thing about this, Your

    3   Honor, is that that is an active issue that is at play,

    4   as you heard from the testimony, when they have this

    5   University Club meeting.         You remember the University

    6   Club meeting was on September 20.            On September 19,

    7   they're meeting with the foreign minister and Erdogan's

    8   son in-law, and in the e-mail that Rafiekian sent, he

    9   says that it's about Confidence.

   10                McCauley heard what was going on.              At least

   11   to the extent that he could hear -- he was at one end.

   12   He said that Woolsey was being disruptive.                 But he

   13   heard the foreign minister and Flynn discussing Gulen,

   14   that he was a terrorist, that he had to go, and the

   15   extradition that Turkey was interested in.                 So there's

   16   even e-mails that the subject of which is LDA versus

   17   FARA.

   18                Graham Miller on September 19 says:              Could

   19   you give me a copy of Kelley's opinion that we could

   20   file under LDA?

   21                And he responds back:         I'll put you in touch

   22   with Kelley.

   23                Kelley testified that he don't do anything

   24   else except answer that one question and then file the

   25   LDA form.        He didn't say he didn't -- in fact, he said


          Rhonda    F.   Montgomery    OCR-USDC/EDVA       (703)    299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 28 of 92 PageID# 4673

                                                                       983


    1   he did nothing else.          So that conversation never took

    2   place.

    3                But we also know that there was never any

    4   opinion letter.       The defendant never went back to

    5   Kelley for an opinion letter, a formal letter, because

    6   now Kelley would have been acting as his lawyer, and he

    7   would be -- he would then be asking questions.                 And

    8   that's not speculation, Your Honor.             That is just

    9   common sense inference from the facts.

   10                But what is happening here?           FARA and LDA is

   11   a live issue, and he tells them that we're returning

   12   from New York.       He doesn't mention what that meeting is

   13   about.     He said it's about Confidence and a

   14   cabinet-level position.          He says nothing about that at

   15   the meeting at the University Club.

   16                Now, he claims that it was just to get

   17   background.       It was just background on Gulen.           Well,

   18   why doesn't he say anything about that at the meeting

   19   that's the -- you know, the talk about the status of

   20   the project?       Why doesn't he say:       Hey, you know,

   21   coincidently, we just happened to be in New York last

   22   night, and we were talking with the foreign minister.

   23   We were actually talking to Erdogan's son-in-law.                    And,

   24   you know what?       They gave us their views on Gulen.

   25   He's a terrorist.       He thought this, and he thought


          Rhonda    F.   Montgomery     OCR-USDC/EDVA      (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 29 of 92 PageID# 4674

                                                                       984


    1   that.

    2                And he says nothing to the whole team over

    3   there.     He says nothing at all.

    4                That is, again, this tacit understanding that

    5   they are not -- no matter what, they are not going to

    6   reveal this relationship between them.              And you ask

    7   about what makes it not a lawful transaction?                It's

    8   that LDA filing because of the lie that he told to

    9   Kelley.     It's clear from this throughout that that was

   10   one of the purposes, and that was one of the overt acts

   11   that carried out.

   12                That, among other things, is what made it not

   13   a lawful commercial transaction, by lying to Kelley and

   14   getting him to file an LDA and also to keep this secret

   15   about this meeting in New York while this whole issue

   16   of where to file is still an open question.

   17                The telling thing, Your Honor, is that these

   18   conversations, the direction and control from the

   19   government of Turkey, continue because you'll recall at

   20   least two Skype chats that took place afterward, after

   21   they said the Turkish government is out of this, that

   22   this has nothing to do with the Turkish government.

   23                What you see is a Skype chat.           One Skype chat

   24   that says:        We are a go.     I just met with the foreign

   25   minister.        I'm hoping to meet with his boss.          Not his


          Rhonda    F.    Montgomery     OCR-USDC/EDVA     (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 30 of 92 PageID# 4675

                                                                       985


    1   direct boss but you know who.           I inferred this from the

    2   fact that I've been invited to the opening of the Third

    3   Bridge.

    4                This is the Bosphorus bridge that Mr. Olson

    5   testified about and the bridge that you judicially

    6   found was open on the 26th.

    7                So he tells the defendant:          I'm going to be

    8   meeting -- well, first of all he tells them this:                  You

    9   are a go.        We are a go.    I have met with the foreign

   10   minister, and we are a go.

   11                Then he says:       I hope to be meeting with the

   12   prime minister -- or rather, President Erdogan because

   13   he's going to be there.

   14                In fact, as you've heard, he was there at the

   15   opening ceremony.

   16                Then what happens?        Alptekin tells him in

   17   that same conversation:          I'm hoping to meet the Turkish

   18   president, but either way we are a full go.

   19                He says:     We are a full go.

   20                That is the direction from the government of

   21   Turkey that he has hidden, that he has kept hidden by

   22   filing a false LDA.        So it is that.

   23                Again, this is an accretion of evidence that

   24   is inexorably leading to this, at least a preponderance

   25   of the evidence, that there is a conspiracy among them.


          Rhonda    F.    Montgomery    OCR-USDC/EDVA      (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 31 of 92 PageID# 4676

                                                                       986


    1                That's not the only Skype chat because

    2   there's one later, and it is from MC's guy who is read

    3   into the project.       That's what Alptekin tells the

    4   defendant.      He says, I had a meeting with MC -- in

    5   other words, Foreign Minister Cavusoglu.               I heard from

    6   the foreign minister's guy, who is read into

    7   Confidence, and he wants me to write an op-ed about

    8   this.

    9                This couldn't be more damming, Your Honor.

   10   It is, first, the foreign minister saying you're a full

   11   go, and Alptekin telling him:           No matter whether we

   12   meet the president or not, he told me we are a full go.

   13   This is direction and control from the foreign minister

   14   of Turkey after August 11, after it's supposedly about

   15   business confidence in Turkey.

   16                There's another one in which he talks about

   17   the foreign minister's guy who is read into Confidence.

   18   Read into, Your Honor.         As you know, read into means

   19   like any classification compartment, you get read into

   20   something, meaning you're told about it in a way that

   21   is secret.

   22                THE COURT:      All right.

   23                MR. GILLIS:      So he's read into.        It's not

   24   some guy who knows about it, but he's read into it.

   25   He, as part of that Confidence project that he's read


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 32 of 92 PageID# 4677

                                                                       987


    1   into, wants me to write an op-ed.

    2               Now, it didn't turn out to be Alptekin that

    3   wrote the op-ed.       It turned out to be Lieutenant

    4   General Flynn.      However, those two Skype chats coming

    5   after all of this, again, shows you that there is this

    6   continuing conspiracy not just to hide the government's

    7   of Turkey's involvement in what -- I mean, they're

    8   saying it's a lawful transaction.            Of course, it's not

    9   a lawful --

   10               You see the circularity.           I understand what

   11   you're saying about the circularity of 951, but they

   12   lie on the LDA form.         That alone, along with all the

   13   other evidence, makes it not a lawful commercial

   14   transaction, Your Honor.

   15               THE COURT:       All right.

   16               MR. GILLIS:       I think I'm getting the hook,

   17   Your Honor.

   18               THE COURT:       All right.

   19               MR. GILLIS:       All right, Your Honor.         Thank

   20   you very much for hearing me out.

   21               THE COURT:       All right.

   22               MR. TURGEON:       Your Honor, just one other

   23   thing very briefly.        We've received Your Honor's

   24   proposed jury instructions, and we'll continue to

   25   digest those.      I expect we'll propose further changes


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 33 of 92 PageID# 4678

                                                                       988


    1   in line with what the government submitted last night.

    2               Just before this hearing, though, Your Honor,

    3   the government filed a reply regarding the defense's

    4   proposed legal commercial transaction instruction.

    5   That reply addresses a few issues, including the

    6   willfulness issue that Your Honor just ruled upon.                    It

    7   also addresses what constitutes unlawful conduct under

    8   951, and that is the subject of one of Your Honor's

    9   proposed instructions.

   10               THE COURT:       Right.

   11               MR. TURGEON:       In sum, the defense claims that

   12   the only unlawful conduct was the defendant's failure

   13   to register under FARA, but that's not correct.                 The

   14   reply explains --

   15               THE COURT:       No.   I understand.       You're now

   16   claiming it was the filing of the LDA, but this is an

   17   evolved position.       I understand.

   18               MR. TURGEON:       Well, Your Honor --

   19               THE COURT:       You've never taken that position

   20   previously; have you?

   21               MR. TURGEON:       Your Honor, it's a position

   22   that's evident now based on the evidence that's been

   23   introduced at trial.

   24               THE COURT:       I understand, and I'll consider

   25   whether the instruction needs to make reference to that


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 34 of 92 PageID# 4679

                                                                       989


    1   as well.

    2               MR. TURGEON:       Thank you, Your Honor.

    3               Our brief addresses that point.             So I have a

    4   few courtesy copies of that for Your Honor, and I'd ask

    5   that Your Honor consider that before the charge

    6   conference.

    7               THE COURT:       All right.

    8               MR. TURGEON:       Thank you.

    9               THE COURT:       All right.     Mr. MacDougall or

   10   someone from your side, I'll give you a brief

   11   opportunity to respond to Mr. Gillis' closing.

   12               MR. MACDOUGALL:         Yes, Your Honor.       I think

   13   Mr. Tysse is going to respond.

   14               THE COURT:       Yes.

   15               MR. TYSSE:       Thank you very much, Your Honor.

   16               James Tysse.       I'll be brief.

   17               I'm happy to answer any questions you have,

   18   but I think Your Honor hit the nail on the head.                 That

   19   is that the question here is whether there is evidence

   20   of a conspiracy to commit unlawful acts, whether there

   21   was a true partnership in crime.            I think what we heard

   22   a lot about was discussions, ambiguous discussions,

   23   hearsay statements from Mr. Alptekin regarding

   24   communications he may have had with Turkey.                What is

   25   missing from all of those discussions is any sort of


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 35 of 92 PageID# 4680

                                                                       990


    1   request for direction and control from Turkey itself,

    2   or any sort of agreements on the part of my client to

    3   actually perform any of the unlawful acts that the

    4   government has charged in the indictment.

    5               Now, I'm happy to talk about all the

    6   individual pieces of evidence.           The government went

    7   through a lot of them.         I took some notes but just a

    8   few kind of highlights.         You know, they emphasized the

    9   green light e-mail on August 10.            What the green light

   10   e-mail says is it's a green light to discuss budget, to

   11   discuss confidentiality.         It was not a green light to

   12   go forward with a project.          It's not a reasonable

   13   inference to take from that.

   14               There was testimony that the -- from the

   15   beginning, the project was about Gulen.              But the trial

   16   testimony confirms that the business climate in Turkey

   17   and Mr. Gulen's status in the United States were

   18   intricately related.         They were two sides of the same

   19   coin.

   20               There was very clear evidence on that,

   21   including from the Sphere Consulting presentation,

   22   which said that the goals of the project would be to

   23   produce a 60 Minutes style documentary that both

   24   bolstered the business climate and addressed

   25   Mr. Gulen's behavior.


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 36 of 92 PageID# 4681

                                                                          991


    1               Turning to another piece of evidence -- oh,

    2   with regard to the green light e-mail and the

    3   transition from August 10 to 11, none -- there's

    4   nothing inconsistent in any of those e-mails with

    5   Mr. Alptekin talking to someone in Turkey and finding

    6   out from a Turkish minister, "We've already engaged

    7   Robert Amsterdam & Partners for this exact same

    8   project, so we're not going to move forward with it,"

    9   and having FIG move forward with the project on its own

   10   for its own reasons.

   11               Again, the government is asking the Court in

   12   this proceeding and the jury more broadly to make these

   13   giant speculative leaps about what very ambiguous

   14   conduct and statements in a series of e-mails actually

   15   say.

   16               There is -- there was also a reference to the

   17   reference to Ankara.         Again, we addressed this in a

   18   great deal more detail in our brief that we filed

   19   yesterday afternoon, Your Honor, but there was

   20   extensive trial testimony that the client of the

   21   project was Alptekin and Inovo.            It was being supported

   22   and funded by wealthy Turkish businessmen.                 So a

   23   reference to Ankara does not mean a reference to the

   24   government of Turkey.

   25               It's also, I would say, inconsistent with the


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)    299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 37 of 92 PageID# 4682

                                                                       992


    1   government's own theory that Mr. Rafiekian was keeping

    2   it a secret, along with Mr. Alptekin, Turkey's

    3   involvement from everyone else.            If Mr. Alptekin is

    4   going to make a statement with reference to the

    5   government of Turkey at that meeting, it seems very

    6   inconsistent with the goal that this was meant to be a

    7   secret from even their own team.

    8                Beyond that, Your Honor, again, ultimately --

    9   and we keep coming back to it -- there has to be an

   10   agreement to actually commit a crime, and that is

   11   what's missing from the government's presentation.

   12                One more point on Mr. Kelley.           The government

   13   keeps emphasizing that he was just a friend and not a

   14   lawyer.     Again, I don't think there was any evidence of

   15   that.     He was ultimately paid $10,000.           That's part of

   16   the record.

   17                Similarly, they say our client lied to

   18   Mr. Kelley.       Again, that's not what the testimony said.

   19   The testimony said:        Who is your client?         He told him

   20   the answer.       It's not the client's job to ask the

   21   lawyer what questions he should be asked and what the

   22   intricacies of the regime are.           He went to him and

   23   said:     I would like to file under FARA.

   24                I don't think there's any reasonable

   25   inference that could be drawn from that, and I think


          Rhonda    F.   Montgomery    OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 38 of 92 PageID# 4683

                                                                       993


    1   Your Honor has properly concluded that that is not a --

    2   that that was not a lie to Mr. Kelley.

    3               I want to make sure, again, to -- oh, I think

    4   one more point as well on the powerful contradictory

    5   evidence of the government's theory.             The government

    6   made a lot of arguments about speculative and often

    7   hearsay evidence, but what was missing was any

    8   reference to the contradictory evidence that goes

    9   completely against their theory, which is, number one,

   10   Turkey had already engaged Robert Amsterdam & Partners

   11   for the exact same project and -- or at least a very

   12   similar project.       They were paying them openly, and

   13   they had filed openly on a FARA form.              That's very

   14   contradictory evidence to the government's entire

   15   theory in this case considering it was also focused, as

   16   we know, on Mr. Gulen.

   17               Similarly, the legal advice on multiple

   18   occasions, this was not simply a matter of talking to

   19   Mr. Kelley and getting advice to file under LDA.

   20   Before he contacted Mr. Kelley, the undisputed

   21   testimony is that he went to Mr. Kelley and said:                  I am

   22   contacting you to find out whether or not we need to

   23   file under FARA.

   24               Okay, again, if this was part of a scheme to

   25   hide the true identity and to avoid filing under FARA,


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 39 of 92 PageID# 4684

                                                                       994


    1   that evidence is powerful, contradictory -- or it

    2   contradicts that powerfully in our view.

    3               And at the end of the day, Your Honors, this

    4   is a case where the government has asked the jury to

    5   speculate, essentially, that by working on a commercial

    6   project for a paying client that aligns with many of

    7   the goals of Turkey and that Turkey might have been

    8   aware of, that our client actually agreed to act as an

    9   agent of Turkey and to follow Turkey's direction and

   10   control.    The record has absolutely no evidence that

   11   Turkey ever gave any direction or control.                 There's no

   12   statement from Turkey.         There's no request from Turkey.

   13   Even at the meeting, the New York meeting that the

   14   government emphasizes so much, there is not a single

   15   piece of testimony that Turkey asked FIG to do anything

   16   or told FIG to do anything or requested or directed FIG

   17   to do anything.

   18               At the end of the day, they're asking based

   19   on ambiguous evidence for this Court to speculate for

   20   purposes of this 104 ruling and the jury to speculate,

   21   ultimately, that there was an agreement to commit an

   22   unlawful act.      We submit that that is completely

   23   lacking.

   24               Thank you.

   25               MR. GILLIS:       May I have the last word, Your


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)    299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 40 of 92 PageID# 4685

                                                                       995


    1   Honor?

    2                THE COURT:      All right.     Briefly.

    3                MR. GILLIS:      At the risk of annoying --

    4                THE COURT:      No.    It's fine.     No, I

    5   understand.

    6                MR. GILLIS:      I have to address this business

    7   about Robert Amsterdam.

    8                THE COURT:      Yes.

    9                MR. GILLIS:      Because, yes, Robert Amsterdam

   10   filed.     As we've said, there's no secret that the

   11   government of Turkey wanted Gulen back.              The secret is

   12   that they were hiring FIG, Flynn Intel Group, headed by

   13   General Flynn and General Flynn himself to publicly

   14   proclaim the very same position but without revealing

   15   that it was being done at the behest of the Turkish

   16   government.

   17                So it is one thing --

   18                THE COURT:      You're talking about the op-ed?

   19                MR. GILLIS:      I'm talking about the whole

   20   project, Your Honor.         But when Flynn Intel Group, for

   21   example, goes to lobby Congress, that says a lot more

   22   than who's not being disclosed to be the -- if I may.

   23                So the last point, Your Honor.

   24                THE COURT:      Go ahead.

   25                MR. GILLIS:      It is one thing to have Robert


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 41 of 92 PageID# 4686

                                                                       996


    1   Amsterdam say it as an agent of the government of

    2   Turkey, and it's an entirely different thing to have

    3   Lieutenant Michael T. Flynn -- General Michael T. Flynn

    4   say the same thing but without revealing that it's

    5   being done, paid for, and asked for and approved by the

    6   government of Turkey through Alptekin, who was having

    7   these very high-level discussions with the government

    8   of Turkey.

    9                THE COURT:      All right.     The Court will take

   10   it under advisement as a motion for reconsideration,

   11   and I'll rule when it's appropriate.

   12                All right.

   13                MR. TYSSE:      Your Honor, would you like to

   14   hear objections to the jury instructions now or a

   15   discussion about it or at some later time?

   16                THE COURT:      Let's do it later.        I'd like to

   17   get the jury back out here.

   18                Counsel, are you prepared to go forward with

   19   additional witnesses?

   20                MR. MACDOUGALL:       We are, Your Honor.         We have

   21   a single brief witness, and then we would ask to be

   22   permitted to read to the jury the three stipulations of

   23   fact and move them into evidence.            That will be our

   24   case, Your Honor.

   25                THE COURT:      All right.     Does the government


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 42 of 92 PageID# 4687

                                                                       997


    1   anticipate any rebuttal?

    2                 MR. GIBBS:       No, Your Honor.

    3                 THE COURT:       All right.   Let's bring the jury

    4   out.

    5          (The jury enters at 10:12 a.m.)

    6                 THE COURT:       All right.   Please be seated.

    7                 Good morning.       I hope everyone managed to

    8   stay cool this weekend.

    9                 We are now ready to proceed with the

   10   defendant's case.

   11                 Mr. MacDougall.

   12                 MR. MACDOUGALL:       Thank you, Your Honor.         The

   13   defense calls Colonel Mark Mykleby.

   14                 THE COURT:       Colonel Mykleby will come

   15   forward, please.

   16                 Counsel.

   17                 MR. MACDOUGALL:       Thank you, Your Honor.

   18           MARK MYKLEBY, DEFENDANT'S WITNESS, AFFIRMED

   19                            DIRECT EXAMINATION

   20   BY MR. MACDOUGALL:

   21   Q      Good morning, Colonel Mykleby.

   22   A      Good morning.

   23   Q      My name is Mark MacDougall.          I'm one of the

   24   attorneys who is representing Bijan Rafiekian.                 You and

   25   I met for the first time this morning; is that right?


            Rhonda   F.   Montgomery     OCR-USDC/EDVA     (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 43 of 92 PageID# 4688

                                                                       998


    1   A      That is correct.

    2   Q      Could you tell us where you live, please.

    3   A      I'm currently in Cleveland, Ohio.

    4   Q      What do you do for a living?

    5   A      I'm a consultant.

    6   Q      What kind of consultant?

    7   A      Job consultant.         Some for the Department of Navy

    8   and then also for EcoDistricts, economic development

    9   for municipalities.

   10   Q      And what did you do before you became a

   11   consultant?

   12   A      I was a colonel in the Marine Corps, Marine

   13   officer, career.

   14   Q      How long were you in the Marine Corps?

   15   A      Twenty-four years in the Marine Corps.

   16   Q      I'm sorry?

   17   A      Twenty-four years.

   18   Q      Twenty-four.

   19          And what your speciality?

   20   A      I was an F-18 pilot.

   21   Q      Where did you serve?

   22   A      Most of my operations were out of Beaufort, South

   23   Carolina.

   24   Q      Anywhere else?

   25   A      Also up in Quantico, Virginia, for a couple of


            Rhonda   F.   Montgomery     OCR-USDC/EDVA     (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 44 of 92 PageID# 4689

                                                                       999


    1   tours.       And then I led a special operations command,

    2   and then I ended up my career at the Pentagon working

    3   for the chairman of joint chiefs of staff.

    4   Q      What year did you retire from the Marine Corps?

    5   A      In 2011.

    6   Q      Do you know the defendant here, Mr. Rafiekian?

    7   A      Yes, I do.

    8   Q      Is he sitting at defense table?

    9   A      Yes, he is.

   10   Q      And how did you come to know him?

   11   A      I was introduced to him in, I believe, 2010 by a

   12   gentleman I was working with, Captain Wayne Porter.                     We

   13   were both working for Admiral Mullen when he was the

   14   chairman of the joint chiefs of staff.

   15   Q      Who is Admiral Mullen?

   16   A      Admiral Mullen was the chairman of the joint

   17   chiefs of staff.

   18   Q      And about what year was that?

   19   A      About 2010, I believe, is when I first met Bijan.

   20   Q      So you've known Mr. Rafiekian about nine years;

   21   would that be right?

   22   A      Approximately, yes.

   23   Q      And could you give me a little more detail about

   24   what work you've done, what your association has been

   25   with Mr. Rafiekian both back when you were both working


            Rhonda   F.   Montgomery   OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 45 of 92 PageID# 4690

                                                                      1000


    1   for Admiral Mullen and since then?

    2   A       Right.     I believe it was 2010 when we first met,

    3   and Bijan was on the board of directors for the U.S.

    4   Export-Import Bank.        I was a special assistant for

    5   Admiral Mullen.        At that time, Wayne Porter and I were

    6   doing work for Admiral Mullen and developing a new

    7   strategy for the nation.         And Bijan took an interest in

    8   it and -- in the work that we were doing.               And at that

    9   point, it was mostly social.

   10           Once I retired in 2011, in 2012 Bijan asked me to

   11   help stand up a small technology company called Green

   12   Zone Systems.        So I worked as a paid consultant for

   13   getting Green Zone Systems up and running from about

   14   2012 to 2015.

   15   Q       When you say "stand up" a company, what does that

   16   mean?

   17   A       It was very -- just a small technology company.

   18   So we were just organizing, developing a product,

   19   specifically that would -- a communications product

   20   that would help support special operations forces and

   21   special tactical units for law enforcement.

   22   Q       Have you had other involvement with Mr. Rafiekian

   23   over the last nine years?

   24   A       Just mostly on a social basis.

   25   Q       How often do you speak with Bijan on average?


            Rhonda   F.   Montgomery   OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 46 of 92 PageID# 4691

                                                                      1001


    1   A      Oh, probably now not all that often.             Probably

    2   about once every couple of months.

    3   Q      Do you know his family?

    4   A      Yes, we do.

    5   Q      Do you know his wife, Gissou?

    6   A      Yes, I do.

    7   Q      Is she here in the courtroom today?

    8   A      Yes, she is.

    9   Q      Would you point her out, please.

   10   A      She's right there.

   11   Q      So generally speaking, how well do you know

   12   Mr. Rafiekian?

   13   A      I know him fairly well.         I got to work with him

   14   both, you know, professionally but then also on a

   15   social basis.

   16   Q      And do you have an opinion as to whether he's a

   17   truthful person?

   18   A      He's always been truthful with me.

   19   Q      I'm sorry.      I spoke over you.

   20   A      He's always been truthful with me.

   21   Q      How certain are you of that opinion?

   22   A      I'm very certain of that.

   23   Q      What's it based on?

   24   A      My personal experience.         He's told me -- he

   25   basically has always done what he said he was going to


            Rhonda   F.   Montgomery   OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 47 of 92 PageID# 4692

                                                                      1002


    1   do when dealing with me.

    2   Q      To the extent you've observed him with other

    3   people, is that your experience as well?

    4   A      As far as my observations, yes.

    5                  MR. MACDOUGALL:       No further questions, Your

    6   Honor.       Thank you.

    7                  THE COURT:       All right.   Mr. Gibbs.

    8                  MR. GIBBS:       Thank you, Judge.

    9                             CROSS-EXAMINATION

   10   BY MR. GIBBS:

   11   Q      Now, Colonel Mykleby, I believe you testified

   12   about being hired by the defendant in 2012 to work with

   13   Green Zone.         Is that correct?

   14   A      That's correct.

   15   Q      All right.        Did the defendant specifically hire

   16   you?

   17   A      The actual source of the capital was from NJK

   18   Holdings.          It was a company underneath NJK Holdings,

   19   but he specifically made the connection.               He was the

   20   president of the company and hired me to be the senior

   21   advisor of strategy.

   22   Q      Okay.       So he -- you had an interview with him, sat

   23   down and talked about it, determined it was a good fit,

   24   and he actually was the one who hired you for the --

   25   and the position was senior advisor, correct?


            Rhonda    F.   Montgomery     OCR-USDC/EDVA     (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 48 of 92 PageID# 4693

                                                                      1003


    1   A      Senior advisor for strategy, that's correct.

    2   Q      Right, senior advisor for strategy.

    3          And that was -- and you held that position from

    4   2012 to 2015; is that correct?

    5   A      Approximately, yes.

    6   Q      And was the defendant your boss?

    7   A      Yes.

    8   Q      And how much were you paid in that position?

    9   A      I was paid -- I believe it was about $150 an hour

   10   consulting fee.

   11   Q      And how many hours would you generally bill in

   12   that position?

   13   A      I, roughly, did about ten hours a week, something

   14   like that.

   15   Q      Okay.       So not a full-time position then?

   16   A      No.

   17   Q      Okay.       And then you testified on direct that the

   18   defendant hired you for that position in 2012, and that

   19   lasted until about 2015, correct?

   20   A      That is correct.

   21   Q      And what happened in 2015?          Is that when you moved

   22   to Cleveland?

   23   A      No, I didn't move to Cleveland.           But the work that

   24   I was doing, my primary job was, again, developing

   25   concepts around grant strategy.            I was at New America


            Rhonda    F.   Montgomery   OCR-USDC/EDVA      (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 49 of 92 PageID# 4694

                                                                      1004


    1   Foundation and then was hired by Case Western Reserve

    2   University to stand up a strategic innovation lab.

    3   That was just going to take up more time.               Quite

    4   honestly, I am not a business guy.             Helping Green Zone

    5   Systems get off the ground, my connections with special

    6   operations command, I pretty much had served my

    7   purpose.       So it was just time to move on.

    8   Q      Okay.      And I want to talk about moving on.           So

    9   when did you get hired which Case Western Reserve

   10   University?

   11   A      I got hired by Case Western approximately around

   12   September 2014, somewhere around that neighborhood.

   13   Q      And when did you actually -- so -- and when did

   14   you actually move to the Cleveland area as part of that

   15   position?

   16   A      I didn't.      I commuted from Beaufort, South

   17   Carolina.         The position that I had was not -- it didn't

   18   require me to be at Cleveland, so I just commuted from

   19   Beaufort, South Carolina.

   20   Q      Okay.      Yeah, and I think maybe I misunderstood

   21   your direct testimony.         But so you currently live in

   22   Beaufort, South Carolina, correct?

   23   A      I'm transitioning right now.          I recently just

   24   moved to Cleveland.

   25   Q      Okay.      When did you move to Beaufort?


            Rhonda   F.   Montgomery   OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 50 of 92 PageID# 4695

                                                                      1005


    1   A       I first got to Beaufort -- it was my first duty

    2   station -- somewhere around December 1990,

    3   January 1991.

    4   Q       But recently.        So -- well, let me to do it this

    5   way:     Where were you living for all of 2016?

    6   A       In Beaufort, South Carolina.

    7   Q       Where were you living for all of 2017?

    8   A       Beaufort, South Carolina.

    9   Q       So when you testified on direct that your

   10   interactions with the defendant were fairly

   11   intermittent, that's because you two lived in different

   12   cities, correct?

   13   A       That's correct.

   14   Q       And so -- okay.        So when's the last time you and

   15   the defendant actually lived in the same place?

   16   A       I'm not sure that we ever lived -- well, I take

   17   that back.        When I was at the Pentagon, I lived in D.C.

   18   I was a geographical bachelor, and he lived in the

   19   area.     I never visited Bijan's home.

   20   Q       Okay.     Fair enough.     So it's really a professional

   21   relationship?

   22   A       For the most part, yes.

   23                   MR. GIBBS:     Great.   One moment.

   24           (Counsel confer.)

   25                   MR. GIBBS:     Thank you, Judge.


            Rhonda   F.   Montgomery     OCR-USDC/EDVA     (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 51 of 92 PageID# 4696

                                                                      1006


    1                Colonel Mykleby, I have no further questions.

    2   Thank you, sir.

    3                THE COURT:       All right.    Anything further?

    4                MR. MACDOUGALL:       Nothing else, Your Honor.

    5                THE COURT:       All right.    Thank you for

    6   appearing.       Please do not discuss your testimony

    7   outside of the courtroom.

    8                THE WITNESS:       Yes, sir.

    9         (The witness stands aside.)

   10                THE COURT:       Mr. MacDougall.

   11                MR. MACDOUGALL:       Your Honor, we have the

   12   three stipulations to read into evidence and move into

   13   evidence.

   14                THE COURT:       All right.    Ladies and gentlemen,

   15   you're now about to hear statements that have been

   16   agreed to by the parties.          You may accept the

   17   statements as proof of the facts stated in those

   18   stipulations, but it's up to you as far as what weight

   19   or importance you attach to them.

   20                Yes.

   21                MS. MITCHELL:       Good morning, Your Honor.

   22   Thank you.

   23                Good morning.       Referring now to Defendant's

   24   Exhibit 66, Stipulated Statement of Fact No. 1:

   25                The United States government is in possession


          Rhonda    F.   Montgomery     OCR-USDC/EDVA      (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 52 of 92 PageID# 4697

                                                                      1007


    1   of multiple, independent pieces of information relating

    2   to the Turkish government's efforts to influence United

    3   States policy on Turkey and Fethullah Gulen, including

    4   information relating to communications, interactions,

    5   and a relationship between Ekim Alptekin and Michael

    6   Flynn and Ekim Alptekin's engagement of Michael Flynn

    7   because of Michael Flynn's relationship with an ongoing

    8   presidential campaign without any reference to the

    9   defendant or FIG.

   10               Referring now to Defendant's Exhibit 6,

   11   Stipulated Statement of Fact No. 2 entitled Memorandum

   12   for Record:

   13               On 14 September 2016, the undersigned was

   14   instructed to contact Lieutenant General Michael Flynn,

   15   USA retired, who had indicated he wanted to make a

   16   report in person.

   17               On 15 September 2016, the undersigned and

   18   Curtis Guy met with Lieutenant General Flynn at this

   19   place of business, 44 Canal Center Plaza, Suite 400,

   20   Alexandria, Virginia.         He advised as follows:         He as

   21   planning to go to Japan in October 2016 to meet with

   22   the Japanese minister and deputy minister of defense.

   23   On 19 September 2016, he planned to meet with the

   24   president of Egypt, Abdel Fattah el-Sisi, in New York

   25   at the Egyptian Consulate.          That day he also planned to


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 53 of 92 PageID# 4698

                                                                      1008


    1   meet with the Turkish foreign minister (NFI) and

    2   possibly might also meet Erdogan, the Turkish

    3   president, in New York.         He was not questioned about

    4   any past foreign contacts or travel since his military

    5   retirement as it was believed that matter was covered

    6   during his recent background investigation, and it was

    7   not reason he contacted DIA on this occasion.

    8               He also mentioned that his company was

    9   supporting a Dutch company (NFI) to assist in renewing

   10   the confidence of the international community in the

   11   Turkish government.        He used the terms "strategic

   12   advantage" and "confidence project."             He provided no

   13   further details.

   14               This document is signed by Karl James, Chief

   15   SEC-2, and dated March 21, 2017.

   16               The last document is Defendant's Exhibit 14

   17   entitled Stipulated Statement of Fact No. 3:

   18               In a meeting with a U.S. government agency on

   19   September 28, 2016, Bijan Rafiekian provided an

   20   overview of the Flynn Intel Group, outlined recent

   21   business activities and potential access.               Rafiekian

   22   reported the following:

   23               Rafiekian continues to work on business in

   24   Qatar, Saudi Arabia, Turkey, and Kazakhstan.                The Flynn

   25   Intel Group is involved in both security consulting and


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 54 of 92 PageID# 4699

                                                                      1009


    1   aviation, including unmanned aerial vehicles and

    2   unmanned aircraft systems.          On the aviation side, the

    3   Flynn Intel Group is working with the government of

    4   Georgia to establish a hub in Tblisi, Georgia, for

    5   SOCOM-related cargo transport.

    6               Rafiekian shared that he was aware of an

    7   investigation into an educational compound in

    8   Pennsylvania that was tied to the Fethullah Gulen

    9   movement (FGM).       A Turkish teacher at the complex

   10   claimed that teachers were required to return

   11   40 percent of their earnings to the school

   12   administrators.       Further, although the teachers were

   13   not native English speakers, they were identified as

   14   English teachers, which raised suspicions.                 Rafiekian

   15   believed that the compound, its activities, and

   16   staffing were concerning and highlighted this.

   17   Rafiekian has been asked to consult on a

   18   documentary-style commercial to raise awareness about

   19   the concerning activities/suspicions regarding this FGM

   20   school/compound.

   21               Rafiekian identified Ekim Alptekin, a

   22   Turkish-Dutch duel national, as a business contact.

   23   Rafiekian claims that he provided a reference for

   24   Alptekin, whom he described as the head of the American

   25   chamber of commerce in Turkey.           Alptekin has senior


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)    299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 55 of 92 PageID# 4700

                                                                      1010


    1   level contacts in the Turkish government, particularly

    2   related to finance and economics, and was previously

    3   involved with the Eclipse Aviation, a company that

    4   produces small jet planes in New Mexico.               Alptekin is

    5   also the sole owner of Inovo, a Dutch company.

    6                Rafiekian also provided business cards for

    7   the Flynn Intel Group.

    8                THE COURT:       Thank you.

    9                MR. MACDOUGALL:       Your Honor, the defense

   10   rests.

   11                THE COURT:       All right.    Thank you.

   12                Mr. Gibbs, does the government have any

   13   rebuttal?

   14                MR. GIBBS:       We do not, Your Honor.

   15                Thank you.

   16                THE COURT:       All right.    Ladies and gentlemen,

   17   you have now heard all the evidence in the case.

   18   Before you begin your deliberations, we need to take up

   19   some procedural matters and then instruct you as to the

   20   law and then have closing arguments.

   21                I'm going to excuse you to the jury room at

   22   this time.       I hope to bring you back out shortly and

   23   let you know what our schedule is going to be going

   24   forward.

   25                So you're excused for right now.              Please do


          Rhonda    F.   Montgomery     OCR-USDC/EDVA      (703)    299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 56 of 92 PageID# 4701

                                                                      1011


    1   not discuss this case among yourselves.

    2               Thank you.

    3         (The jury exits at 10:29 a.m.)

    4               THE COURT:       Please have a seat.

    5               Mr. MacDougall.

    6               MR. MACDOUGALL:        Your Honor, Mr. Tysse will

    7   take up the argument for the defense.

    8               THE COURT:       All right.     Let's see where we

    9   are after the motion.

   10               MR. TYSSE:       Thank you, Your Honor.

   11               We've had a chance to review the jury

   12   instructions and have four points to make.

   13               The first one with regard to the conspiracy

   14   count as to what constitutes unlawful conduct under

   15   Section 951 and 618(a), we simply would like to

   16   preserve our argument that this -- to prove something

   17   that is not a legal commercial transaction requires a

   18   willful state of mind.

   19               THE COURT:       All right.

   20               MR. TYSSE:       With respect to the -- what

   21   constitutes a violation of 618(a), we'd like to object

   22   to the definition of "material" that Your Honor has

   23   chosen.

   24               THE COURT:       All right.

   25               MR. TYSSE:       The reason, Your Honor, is the


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 57 of 92 PageID# 4702

                                                                      1012


    1   definition unlike either -- the definition that defense

    2   suggested or the government -- the defense that it was

    3   significant or important or the government that it was

    4   capable of influencing government action, we think the

    5   language proposed referring to whether the information

    6   is inaccurate or misleading is a pretty low bar for

    7   what might constitute something that's material.

    8                And, in fact, the word "inaccurate" in

    9   particular I don't think adds a lot to the current

   10   language of the statute, which is whether something is

   11   false.     False and inaccurate are kind of the same

   12   thing.     So I think if we chose this sort of language,

   13   inaccurate or misleading, you're going to essentially

   14   read the word "material" out of the statute.

   15                And we know from the Escobar case that Your

   16   Honor, I think, referred to the other day, it said that

   17   materiality is a very high standard and, you know, it's

   18   the government's obligation to put forth the proof of

   19   that.

   20                So I think merely requiring the government to

   21   show something that's inaccurate -- which, again, is an

   22   extremely low bar and, I think, inconsistent with the

   23   meaning of material.         We suggest that it should be

   24   either, you know, significant or important, something

   25   that's a synonym of material or something capable of


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 58 of 92 PageID# 4703

                                                                      1013


    1   influencing government action.

    2               With respect to that same definition Your

    3   Honor proposed --

    4               THE COURT:       So what would you be proposing?

    5   Anything other than what you've already proposed?

    6               MR. TYSSE:       Yeah.   I think we'd continue to

    7   suggest the language that we proposed in our original

    8   jury instruction.       But, in particular, inaccurate and

    9   misleading.      Like I said, I think it reads out the word

   10   "material" a little bit from the statute.

   11               THE COURT:       All right.

   12               MR. TYSSE:       Because even a minor sort of

   13   immaterial statement could still be inaccurate or

   14   misleading to some extent.

   15               With respect to the same definition, Your

   16   Honor defines willfully as someone who knowingly

   17   performs an act deliberately and intentionally as

   18   contrasted with accidentally, carelessly, or

   19   unintentionally.

   20               Your Honor, we propose that that should also

   21   include knowledge that the conduct itself was unlawful.

   22   We cited a couple of cases for that.             I think the

   23   Bursey case from the Fourth Circuit.             I believe it was

   24   from the Fourth Circuit.

   25               If you will indulge me.          I'm sorry.      Yeah.


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 59 of 92 PageID# 4704

                                                                      1014


    1   Yeah.   The Bursey case from the Fourth Circuit and both

    2   the Bryan case -- both define willfully in contrast and

    3   knowingly as someone having acted with knowledge that

    4   his conduct was unlawful.          We think that is what

    5   actually distinguishes willful from knowing and

    6   accordingly would object to that language not being

    7   included.

    8                THE COURT:       All right.

    9                MR. TYSSE:       On the Count 2 charge, Your

   10   Honor, this is the third of the four points.                On the

   11   Count 2 charge, it's a similar sort of charge -- or a

   12   similar sort of objection, which is that the third

   13   element says that Bijan Rafiekian acted knowingly.                   We

   14   would request in line with our proposed instruction

   15   that that knowingly include additional information

   16   based on the Liparota case, that the knowledge in this

   17   context because it would otherwise criminalize unlawful

   18   conduct -- or excuse me, legal conduct should be

   19   knowledge that conduct was not authorized by the

   20   statute or regulation.          That's the Liparota case.          I'm

   21   happy to talk about that further or send you the cite,

   22   but I believe it's in our papers.

   23                Similarly, that the knowledge that he was

   24   actually required to register I think that's what it

   25   would mean in this context.          And that comes from the


          Rhonda    F.   Montgomery     OCR-USDC/EDVA      (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 60 of 92 PageID# 4705

                                                                      1015


    1   X-Citement case as well.           And the idea is that the

    2   knowingly would apply to each of the prior elements.

    3   And because one of the elements is that Mr. Rafiekian

    4   acted in the United States as an agent of a foreign

    5   government when required to register.              So he had to

    6   know that he was required to register.              That comes from

    7   the X-Citement case.

    8                The fourth point I'll make, Your Honor, is

    9   that in light of Your Honor's 801(d)(2)(E) ruling with

   10   respect to coconspirator statements, we would

   11   propose -- it's not in the proposed instructions --

   12                THE COURT:        Do you have the cite for the

   13   Liparota case?

   14                MR. TYSSE:        I do.   It's Liparota v. United

   15   States, 471 U.S. 419.

   16                There's also a very recent Supreme Court

   17   decision, Rehaif v. United States, R-E-H-A-I-F, 139 S.

   18   Ct. 2191.        That's 2019.

   19                THE COURT:        2919, is that what you said?

   20                MR. TYSSE:        2191.   139 S. Ct. 2191.      It was

   21   just issued about a month ago.

   22                THE COURT:        All right.

   23                MR. TYSSE:        But that -- it says the same

   24   thing, and it says it's not a situation where

   25   evidence -- or, I'm sorry, ignorance of the law is no


          Rhonda    F.    Montgomery     OCR-USDC/EDVA     (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 61 of 92 PageID# 4706

                                                                      1016


    1   excuse.     But, rather, that in certain contexts, it's

    2   still the government's burden to show that the

    3   defendant actually was aware that his conduct was

    4   unlawful.        Because otherwise you're criminalizing

    5   things that would otherwise not be --

    6                THE COURT:        You referenced a Fourth Circuit

    7   case as well, I believe.

    8                MR. TYSSE:        Yes.   That one is the Bursey

    9   case.     I believe it's United States v. Bursey, 416 F.3d

   10   301.    That's Fourth Circuit, 2005.

   11                THE COURT:        All right.

   12                MR. TYSSE:        And what that holds is that for a

   13   defendant to have acted willfully as opposed to

   14   knowingly, he must have acted with knowledge that his

   15   conduct was unlawful.

   16                THE COURT:        All right.

   17                MR. TYSSE:        And that, in turn, quotes United

   18   States v. Bryan, a Supreme Court case, that says the

   19   same thing, and it's specifically contrasted with

   20   knowingly.

   21                The fourth and final point on the

   22   instructions, Your Honor, is that in light of Your

   23   Honor's ruling with respect to 801(d)(2)(E), we think

   24   it would be appropriate to include a short instruction

   25   that reiterates that point to the jury.


          Rhonda    F.    Montgomery     OCR-USDC/EDVA     (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 62 of 92 PageID# 4707

                                                                      1017


    1               THE COURT:       All right.

    2               MR. TYSSE:       Your Honor said multiple times

    3   during the trial, but we think it would be important to

    4   remind the jury of that.

    5               Now, a final point, Your Honor, that is not

    6   related to the jury instructions, but we'd like to

    7   move, again, for judgment of acquittal under Rule 29.

    8               THE COURT:       All right.     I know you've filed a

    9   brief on that.

   10               MR. TYSSE:       That's right.

   11               THE COURT:       Do you want to just summarize

   12   briefly that, or do you want to say anything further?

   13               MR. TYSSE:       Sure, Your Honor.       I think we've

   14   probably said it best in the papers that we've already

   15   filed.

   16               THE COURT:       All right.

   17               MR. TYSSE:       Essentially, it's what we've have

   18   also talked about this morning as well.

   19               THE COURT:       All right.     That's fine.

   20               MR. TYSSE:       At the end of the day, this

   21   requires an agreement to commit an unlawful act.                 We

   22   think that's where the government's case has gone awry.

   23               THE COURT:       All right.

   24               MR. TYSSE:       Thank you.

   25               MR. TURGEON:       Thank you, Your Honor.


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 63 of 92 PageID# 4708

                                                                      1018


    1               First, with regard to the materiality jury

    2   instruction --

    3               THE COURT:       Yes.

    4               MR. TURGEON:       -- we would suggest that the

    5   Court give the instruction that we proposed last night.

    6   The one notable difference in that from what the

    7   defense has proposed or what the Court has proposed is

    8   that it actually does cite the statute for materiality.

    9               In Section 612 of FARA, Subsection A, it says

   10   that the registration statement shall include the

   11   following, which shall be regarded as material for

   12   purposes of this subchapter.            Then it lists, I believe,

   13   11 subcategories of information.

   14               THE COURT:       Aren't those categories reflected

   15   on the registration form itself that's in evidence?

   16               MR. TURGEON:       Your Honor, yes, they include

   17   what's listed on the form.            In fact, Subsection 10

   18   says -- I'm going to paraphrase.            Subsection 10 says

   19   essentially anything on the form is material.

   20               THE COURT:       Right.

   21               MR. TURGEON:       So what the government --

   22               THE COURT:       Instead of having that

   23   description, I made reference to the form.                 Why isn't

   24   that adequate?      I made reference to the information

   25   requested in the form.


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)    299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 64 of 92 PageID# 4709

                                                                      1019


    1                MR. TURGEON:      Yes, Your Honor.        I apologize.

    2   I'm flipping to that.

    3                Is Your Honor referring to the language for

    4   the purpose of determining whether a false statement --

    5                THE COURT:      Yes.

    6                MR. TURGEON:      Your Honor, in addition to the

    7   FARA registration statement, we would request that that

    8   say "and associated forms" essentially since there are

    9   several.     I mean, not to be hypertechnical, but there's

   10   the registration statement.          There's the supplemental

   11   statement.      There's Exhibit A.       I mean --

   12                THE COURT:      Those are all in evidence?

   13                MR. TURGEON:      A variety of forms.         Yes, Your

   14   Honor, that's right.

   15                THE COURT:      What about what makes an accurate

   16   or misleading language?         Do you have any objections to

   17   that?   The defense wants those qualified in some

   18   fashion.

   19                MR. TURGEON:      Your Honor, we think -- I mean,

   20   I think our instructions, I would say, do a good job of

   21   laying out essentially what's required to prove a

   22   violation of 618(a)(1).         That's --

   23                THE COURT:      So what you would say is simply

   24   whether the false statement or omission makes --

   25                MR. TURGEON:      The statute, Your Honor,


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 65 of 92 PageID# 4710

                                                                      1020


    1   says -- again, looking at the statute:              In any

    2   registration statement or supplement thereto or any

    3   other document, a false statement of a material fact

    4   are willfully -- makes a false statement of a material

    5   fact or willfully omits any material fact required to

    6   be stated therein or willfully omits a material fact or

    7   a copy of a material document necessary to make the

    8   statements therein and the copies of documents

    9   furnished therewith not misleading.

   10               So, Your Honor, there's essentially three

   11   ways you can qualify under that provision, and we'd

   12   request that the instruction say that.

   13               THE COURT:       Well, it mentions misleading is

   14   the only thing I heard in that definition pertaining to

   15   materiality.

   16               MR. TURGEON:       No, not pertaining to

   17   materiality there.        No, Your Honor.

   18               THE COURT:       All right.

   19               MR. TURGEON:       And with regard to the second

   20   item on my list, willfulness, in accordance with Your

   21   Honor's previous ruling that the willfulness will not

   22   be imputed to the legal commercial transaction element,

   23   we're fine with the instruction referencing the Supreme

   24   Court's opinion in Bryan, but we would request that

   25   that be given immediately after the materiality


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 66 of 92 PageID# 4711

                                                                      1021


    1   instruction.

    2                THE COURT:      Which instruction are you on now?

    3                MR. TURGEON:      I apologize, Your Honor.          I

    4   don't have --

    5                THE COURT:      This is under 951?

    6                MR. TURGEON:      No, Your Honor.       Under the law

    7   of the conspiracy.        What I understood Mr. Tysse to be

    8   referring to was the instruction that the defense

    9   originally proposed on willfulness --

   10                THE COURT:      Yes.

   11                MR. TURGEON:      -- in arguing that that second

   12   sentence be given.        The government has no opposition to

   13   that second sentence being given.

   14                THE COURT:      All right.

   15                MR. TURGEON:      So the instruction reflects the

   16   Bryan decision.

   17                THE COURT:      So materiality would include --

   18   I'm sorry.      Willfully will include knowledge that the

   19   conduct is unlawful?

   20                MR. TURGEON:      Yes, Your Honor.        For purposes

   21   of the conspiracy in Count 1, yes.

   22                THE COURT:      All right.

   23                MR. TURGEON:      But, again, in the sequence of

   24   instructions, if that is to be a separate instruction,

   25   we'd ask that it be given immediately after the


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 67 of 92 PageID# 4712

                                                                      1022


    1   materiality instruction so that it's clear to the jury

    2   that the willfulness applies only to the violation of

    3   618.

    4               And I'm convinced, Your Honor, that the

    5   willfulness instruction isn't entirely necessary.                  The

    6   forms make that pretty clear given the evidence at

    7   trial, but we're fine with that.

    8               THE COURT:       I believe, though, he was

    9   referring to the knowledge element in Count 2, the

   10   knowingly --

   11               MR. TURGEON:       As I understand, Your Honor,

   12   that's a separate question, and that's not what I was

   13   just talking about.

   14               THE COURT:       No.   I understand.       All right.

   15               MR. TURGEON:       Then, Your Honor, we would

   16   contend that there's no need for a separate instruction

   17   to inform the jury, once again, the purpose for which

   18   those statements were admitted.            I mean, they've heard

   19   Your Honor's admonishment enough times they could

   20   probably recite it from memory, but that's up to the

   21   Court.

   22               THE COURT:       All right.     I'll consider it and

   23   decide what to do on that.

   24               Anything else on the instructions?

   25          (No response.)


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 68 of 92 PageID# 4713

                                                                      1023


    1                THE COURT:       I've gone through the others, the

    2   proposed joint instructions, as well as everybody's

    3   nonagreed to instructions.          We'll get those to you

    4   shortly.     You can go through those, and we can take

    5   those up.

    6                Anything else on these that I've --

    7                MR. TURGEON:       Your Honor, there's one other

    8   thing on Your Honor's -- which I alluded to earlier --

    9   on Your Honor's proposed instruction about what

   10   constitutes unlawful conduct under Section 951.                 On the

   11   second page of that instruction, the paragraph begins,

   12   The government alleges that the conspiracy had as one

   13   of its objectives --

   14                I mean, that is one of the violations of law

   15   that the government has alleged.            It's not the only

   16   one, though, and our reply brief makes that clear.

   17   It's not just about failure to register.               It's failure

   18   to comply with numerous provisions of FARA independent

   19   of and in a separate section from the registration

   20   requirement.

   21                And so that continues on to the following

   22   page, Your Honor, where it says, The government has,

   23   therefore, proved that a conspiracy had one of its

   24   object -- one of its -- the conspiracy had as one of

   25   its objectives conduct that satisfied the essential


          Rhonda    F.   Montgomery     OCR-USDC/EDVA      (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 69 of 92 PageID# 4714

                                                                      1024


    1   elements of a violation of 612(a).

    2                That's not the only way that, Your Honor --

    3   Your Honor, that the government can prove that it

    4   wasn't a legal commercial transaction.

    5                THE COURT:        What else?     The Lobbying Act?

    6                MR. TURGEON:        Yes, Your Honor.      In addition

    7   to 612(a), there are numerous provisions of --

    8                THE COURT:        Well, you have to tell me what

    9   they are.        I can't tell the jury there are numerous

   10   provisions.

   11                MR. TURGEON:        Yes, Your Honor.      Our proposed

   12   instructions lay them out and identify them by -- the

   13   ones we filed last night lay them out by the statute

   14   and the text of the statute.              It's --

   15                THE COURT:        Hold on.

   16                Which instruction is it in?

   17                MR. TURGEON:        It is the one that we proposed

   18   last night, Your Honor.

   19                THE COURT:        Which number?

   20                MR. TURGEON:        I don't believe it has a

   21   number, Your Honor.        It's the one that includes several

   22   block quotes, I believe, and identifies Section 614(a),

   23   614(b), 614(e) and (f), I believe, are the sections

   24   identified.        Those are the other provisions aside from

   25   the registration requirement that were violated.


          Rhonda    F.    Montgomery     OCR-USDC/EDVA      (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 70 of 92 PageID# 4715

                                                                      1025


    1               And then in that instruction as well, Your

    2   Honor, we address the provisions of the Lobbying

    3   Disclosure Act that were violated.             I believe

    4   Mr. Gillis would like to speak to that issue.

    5               THE COURT:       Those are the provisions that --

    6   the 614, I don't have the statute in front of me.

    7   Those are the ones that relate to who constitutes an

    8   agent of a foreign principal?

    9               MR. TURGEON:       No, Your Honor.       Those

   10   provisions concern -- well, the section is titled

   11   Filing and Labeling of Political Propaganda.                 If I

   12   could paraphrase them, Your Honor, essentially, 614(a)

   13   says that anyone who is an agent of a foreign principal

   14   and required to register, whether or not they have

   15   registered, needs to file copies of disseminated

   16   informational materials with the Department of Justice

   17   within 48 hours of doing so.

   18               Subsection (b) includes labeling requirements

   19   for such materials, which were not met in this case.

   20               Subsection (e) details the requirements

   21   that -- the disclosures that someone needs to make when

   22   they're lobbying on behalf of a foreign principal

   23   before they do that lobbying.

   24               THE COURT:       All right.

   25               MR. TURGEON:       And (f) concerns appearances


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 71 of 92 PageID# 4716

                                                                      1026


    1   before Congress.

    2               So those four provisions of Section 614 are

    3   also violations.

    4               THE COURT:       You're including (f)?

    5               MR. TURGEON:       Yes, Your Honor.

    6               THE COURT:       All right.     You don't have that

    7   in your instruction, I don't believe.

    8               MR. TURGEON:       Oh, Your Honor, actually, (f)

    9   was in our brief but not in our instructions.                So, no

   10   (f), Your Honor.

   11               THE COURT:       No (f).    All right.

   12               MR. TURGEON:       That's not relevant here.

   13               THE COURT:       All right.

   14               MR. TURGEON:       And then Lobbying Disclosure

   15   Act provisions appear just before that in that proposed

   16   instruction, Your Honor.

   17               THE COURT:       All right.

   18               MR. TURGEON:       And there are several of those.

   19               That's all.       Thank you.

   20               THE COURT:       All right.

   21               MR. GILLIS:       I'm sorry, Your Honor.

   22               THE COURT:       Yes.

   23               MR. GILLIS:       If I could, I just wanted to

   24   respectfully point out what I believe is -- I believe,

   25   Your Honor, I respectfully submit that the third --


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 72 of 92 PageID# 4717

                                                                      1027


    1   fourth page of the instructions under conspiracy,

    2   existence of an agreement, in that fourth line up from

    3   the bottom, proof of the conspiracy may be made by

    4   circumstantial evidence and --

    5               THE COURT:       Which one is it?       It's the --

    6               MR. GILLIS:       Sorry.    It's the -- on

    7   conspiracy, existence of an agreement --

    8               THE COURT:       Yes.

    9               MR. GILLIS:       -- the fourth line from the

   10   bottom, I believe it's meant to say, It need not and

   11   normally will not be proven by direct evidence.

   12               I just think that the "a" should be an "and"

   13   there instead.

   14               THE COURT:       Yes.   Thank you.

   15               All right.

   16               MR. TURGEON:       One more thing, Your Honor,

   17   with regard to Your Honor's proposed instruction about

   18   conspiracy and membership in an agreement --

   19               THE COURT:       Yes.

   20               MR. TURGEON:       -- there are a couple of points

   21   I wanted to raise there.

   22               THE COURT:       Yes.

   23               MR. TURGEON:       The end of the second paragraph

   24   ends:   A member of the conspiracy or a

   25   conspiratorial -- I believe that should be agreement or


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 73 of 92 PageID# 4718

                                                                      1028


    1   something to that effect.

    2                THE COURT:       Where are we?

    3                MR. TURGEON:       Paragraph 2, the very last

    4   line.

    5                THE COURT:       A member of the conspiracy or a

    6   conspiratorial agreement, yes.

    7                MR. TURGEON:       In the next paragraph, Your

    8   Honor, it says, The government must prove the defendant

    9   intended to commit the substantive offenses that are

   10   the alleged unlawful objectives of the conspiracy.                   I

   11   believe that should be commit one of the substantive

   12   offenses.

   13                THE COURT:       At least one?

   14                MR. TURGEON:       Yes, Your Honor.

   15                THE COURT:       Okay.

   16                MR. TURGEON:       And then the very last sentence

   17   on that page, Acts of covering up even though done in

   18   the context of a mutually understood need for secrecy

   19   cannot themselves constitute proof the concealment of

   20   the crime was part of the original agreement.

   21                Your Honor, in the context of this case, we

   22   believe that that language is misleading, essentially.

   23   I mean, from the very beginning, as Mr. Gillis laid

   24   out, covering up the existence of -- the involvement of

   25   Turkish government officials in the project was part of


          Rhonda    F.   Montgomery     OCR-USDC/EDVA      (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 74 of 92 PageID# 4719

                                                                      1029


    1   the conspiracy from the very beginning.               So we would

    2   object to that language for that reason.

    3               THE COURT:       All right.     I'll consider that.

    4               MR. TURGEON:       Thank you.

    5               THE COURT:       Mr. Tysse, why don't we start

    6   with the last point on membership in the agreement.

    7               MR. TYSSE:       Which language in particular?

    8               THE COURT:       The acts of covering up.

    9               MR. TYSSE:       I'm sorry.     I'm trying to find

   10   the language, Your Honor.

   11               THE COURT:       It's in the conspiracy,

   12   membership, and an agreement.

   13               MR. TYSSE:       I'm sorry.     Okay.     I skipped that

   14   page.

   15               THE COURT:       The last sentence.        I don't have

   16   the citations.      I'm trying to --

   17               MR. TYSSE:       So the government contends that

   18   this is misleading in the context of this case?

   19               THE COURT:       Yes.

   20               MR. TYSSE:       I mean, Your Honor, I think the

   21   government's argument begs the question a little bit,

   22   which is that they're assuming illegality and then

   23   suggesting that what we contend are totally true

   24   statements are -- should be and can be construed as

   25   acts of covering up.         We don't think that's consistent


          Rhonda   F.   Montgomery     OCR-USDC/EDVA        (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 75 of 92 PageID# 4720

                                                                      1030


    1   with conspiracy law.         We think there needs to be

    2   additional evidence beyond just what they allege to be

    3   acts of cover up.

    4               THE COURT:       I don't have your citations.

    5   Where does that come from?            Do you know?

    6               MR. TYSSE:       What case?

    7               THE COURT:       Yes.

    8               MR. TYSSE:       I don't --

    9               THE COURT:       The source of that instruction?

   10               MR. TYSSE:       I don't have it handy, Your

   11   Honor.

   12               THE COURT:       All right.     I can track it.

   13               MR. TYSSE:       I'm sorry.

   14               THE COURT:       All right.     I'll look at it.

   15               All right.       What about the legal commercial

   16   transaction instruction, including the reference to the

   17   Lobbying Disclosure Act and the other provisions of

   18   FARA that the government has proposed in its

   19   instruction?

   20               MR. TYSSE:       Your Honor, we object.         We object

   21   for a number of reasons.            We think that it is, frankly,

   22   shocking that at this point in the case, on the eve of

   23   the case going to the jury, the government literally

   24   last night for the first time is suggesting that there

   25   were other nonlegal commercial transactions than the


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 76 of 92 PageID# 4721

                                                                      1031


    1   one they've said was illegal all along.              I think if you

    2   look at the evolution of the government's theory with

    3   this point, it's very telling and goes exactly to why

    4   we moved to dismiss this case from the get-go.

    5               In the beginning, the government gave us a

    6   superseding indictment, issued a superseding

    7   indictment, went to a grand jury without ever

    8   specifying what our client did that was in any way

    9   anything other than a legal commercial transaction.

   10   They listed that we did lobbying and op-ed work that

   11   was protected by the First Amendment.              They did not

   12   specify that there was any underlying violation of the

   13   FARA statute.      They certainly don't refer to the FARA

   14   statute in particular, and they don't even say that

   15   during that time we should have -- we should have, you

   16   know, registered under FARA.

   17               Instead, what they charged us with was 18 --

   18   my client with was 18 U.S.C. 951, which has a lower

   19   mens rea and a higher jail term.            And we think -- like

   20   I said, it is shocking and frustrating that, again,

   21   right now for the very first time we're hearing that

   22   there's all of these other new violations of both the

   23   FARA and the LDA.       I mean, I think it's wrong enough

   24   that the government suggests that there are now

   25   additional FARA violations besides 612(a)


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 77 of 92 PageID# 4722

                                                                      1032


    1   notwithstanding the arguments made in the motion to

    2   dismiss briefing when the government could have raised

    3   this argument and in Your Honor's prior ruling, which

    4   recognized that 612(a) was the only statute the

    5   government suggested we violated.            But now they're

    6   actually bringing in an entirely separate statute that

    7   they say constitutes something other than an illegal

    8   commercial transaction.

    9               THE COURT:       All right.

   10               MR. TYSSE:       If Your Honor recalls, when we

   11   moved to dismiss, we did so on the ground that this is

   12   a -- not only a problem with the elements of the

   13   offense, Your Honor, but it is also a notice issue.

   14               THE COURT:       Right.

   15               MR. TYSSE:       It is a notice issue both for

   16   purposes of preparing the defense but also just so the

   17   grand jury -- it's brought to the grand jury's

   18   attention what the crimes were that my client is

   19   alleged to have violated or -- excuse me, what statutes

   20   my client is alleged to have violated.

   21               And I do not think it is appropriate at this

   22   stage after all we've been through -- this is also not

   23   the first time that the government had a chance to

   24   propose jury instructions that we're now getting brand

   25   new crimes we've had no chance to put on evidence of,


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 78 of 92 PageID# 4723

                                                                      1033


    1   no chance to defend.

    2               This is, I think, extremely inappropriate.

    3   We think the Court has already ruled on this issue and

    4   said 612(a) is the only nonlegal commercial transaction

    5   alleged, and that's where this should rest.

    6               THE COURT:       All right.     Tell me, again, your

    7   position with respect to the knowledge requirement in

    8   Count 2.

    9               MR. TYSSE:       In Count 2, Your Honor, yes.

   10               THE COURT:       The acted knowingly.

   11               MR. TYSSE:       Exactly.     So this count requires

   12   that the defendant have acted knowingly.               And the

   13   question is what does that mean in this context?                 And

   14   what we say for a couple of reasons -- both the

   15   X-Citement case, which suggests that the knowingly

   16   element applies to each of the prior elements,

   17   including that Bijan Rafiekian acted in the United

   18   States as an agent of a foreign government --

   19               THE COURT REPORTER:         I'm sorry?

   20               MR. TYSSE:       Excuse me.

   21               -- including that Bijan Rafiekian acted in

   22   the United States as an agent of a foreign government

   23   if required to register by regulations promulgated by

   24   the attorney general.

   25               So we think that knowingly element applies to


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 79 of 92 PageID# 4724

                                                                      1034


    1   that as well and, therefore, would require him to have

    2   known he was supposed to register.              And the reason why

    3   this --

    4                THE COURT:        Acted knowingly -- what would you

    5   add to that?        Knowingly with respect to the requirement

    6   to --

    7                MR. TYSSE:        Right.     I think our proposed jury

    8   instructions set it out, I believe, with a separate

    9   element.     One, that Mr. Rafiekian acted; two, that he

   10   failed -- that he was required to notify the attorney

   11   general, which, again, is part of the first sentence.

   12                THE COURT:        So the issue is whether the

   13   knowingly element applies to that portion of the

   14   statute as well.

   15                MR. TYSSE:        Exactly.

   16                THE COURT:        All right.

   17                MR. TYSSE:        And, Your Honor, we believe it

   18   does for a couple of reasons:              One is the X-Citement --

   19                THE COURT:        Right.

   20                MR. TYSSE:        -- case which says that

   21   essentially -- and that was reiterated in the Rehaif

   22   case, the R-E-H-A-I-F.           But we think it's also true

   23   because of the Liparota case.              And if you look at the

   24   facts of that case, we think it's very analogous to

   25   this one.        That was a situation where it was --


          Rhonda    F.    Montgomery     OCR-USDC/EDVA     (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 80 of 92 PageID# 4725

                                                                      1035


    1                THE COURT:      What you want to say is -- the

    2   way this is set up, it says Rafiekian acted as an

    3   agent, that he failed to notify the attorney general,

    4   and that he acted knowingly.

    5                And you want a separate statement that makes

    6   it clear that the knowingly requirement applies both to

    7   his acting as an agent and also knowingly with respect

    8   to the fail to notify element?

    9                MR. TYSSE:      That's right, Your Honor.

   10                THE COURT:      All right.

   11                MR. TYSSE:      And so I think there's a couple

   12   of ways to do it.       We think one would just to add a

   13   sentence perhaps prior to the paragraph beginning, "As

   14   the Court has previously instructed," just making that

   15   clear.     Because, you know, given both the X-Citement

   16   case but also the Liparota case, which involved a

   17   situation where it was a crime to possess food stamps

   18   except as authorized by law or something like that.

   19   And what the Supreme Court held -- I don't have it

   20   handy with me, but it essentially says because there's

   21   nothing inherently wrongful with possessing food stamps

   22   even though it's just a knowingly offense.

   23                In that situation, the government must prove

   24   that they actually knew that they were not allowed to

   25   have them.      Of course, that doesn't mean that the


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 81 of 92 PageID# 4726

                                                                      1036


    1   defendant must know the specific provision of law or

    2   anything like that, but there must be actual criminal

    3   intent with respect to that element because otherwise

    4   you could be criminalized for writing op-eds and

    5   selling consulting services to paying clients.                 And

    6   that's the point.

    7                You asked me before, Your Honor, about our

    8   citation for that point.         It's a Supreme Court case.

    9                THE COURT:      On which one?

   10                MR. TYSSE:      On the conspiracy point before.

   11   I'm sorry.

   12                THE COURT:      The acting, the covering up?

   13                MR. TYSSE:      That's right.      And the citation

   14   we have for that is the Grunewald, G-R-U-N-E-W-A-L-D,

   15   v. United States, 353 U.S. 391.            It's a 1957 Supreme

   16   Court case.

   17                THE COURT:      353 391?

   18                MR. TYSSE:      353 U.S. 391.

   19                THE COURT:      All right.

   20                MR. TYSSE:      I think that stands for that

   21   proposition.

   22                If there's any other questions Your Honor

   23   has, I'm happy to address those.

   24                THE COURT:      All right.     Okay.     Mr. Turgeon.

   25                MR. GILLIS:      Your Honor, if I could just


          Rhonda   F.   Montgomery     OCR-USDC/EDVA        (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 82 of 92 PageID# 4727

                                                                      1037


    1   briefly address the LDA issue, and then Mr. Turgeon

    2   will address the rest of the points.

    3               THE COURT:       Yes.

    4               MR. GILLIS:       Your Honor, first of all, in

    5   fairness, the Court's order that ruled that we had to

    6   prove a separate violation to disprove the -- the Court

    7   ruled that we had to prove that the conduct in order

    8   not to be a lawful transaction had to be a violation of

    9   some other statute.        That was in the Court's ruling

   10   that came out on the evening -- or late in the

   11   afternoon on Wednesday, and that was really the first

   12   notice that we had certainly after the superseding

   13   indictment.      It should come as no surprise, Your Honor,

   14   that we would maintain that the statement in the LDA

   15   was false, that Inovo was --

   16               THE COURT:       Right.    The point that Mr. Tysse

   17   is making, which I think is a substantial one, is that

   18   the Court in response to the motion to dismiss ruled

   19   that the legal transaction piece of this was an

   20   essential element of the offense.            Then the issue was

   21   whether the superseding indictment adequately alleged

   22   that as an element.        The Court ruled that although it

   23   was not specifically pleaded as such, the Court found

   24   sufficient substance in the superseding indictment to

   25   place the defendant on notice that the legal


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 83 of 92 PageID# 4728

                                                                      1038


    1   transaction piece of it was being violated, if you

    2   will, that there was not a legal transaction based on

    3   912(a).

    4               It was never argued and the Court never

    5   considered whether the superseding indictment

    6   adequately disclosed that the defendant had engaged in

    7   something other than a legal commercial transaction

    8   because of violations of any other provision, including

    9   the LDA or now 614.        It really gets back to whether the

   10   superseding indictment is sufficient for the purposes

   11   of now allowing this case to go to the jury upon a

   12   theory that there was no legal commercial transaction

   13   because of violations of something other than 612.

   14               MR. GILLIS:       No, Your Honor.       It is

   15   exactly -- it is essentially the same.              What we're

   16   alleging, Your Honor, is that the false statement on

   17   the LDA, whether it was in violation of the LDA or

   18   whether it was -- the false statement on the LDA form

   19   that Inovo was the client is essentially the only

   20   allegation that we are making that has to do with

   21   that -- excluding it from a lawful transaction.                 That

   22   can hardly come as a surprise to them because they've

   23   had that LDA filing from the beginning.              We've alleged

   24   that that statement was false.

   25               They have raised it themselves as one of the


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)    299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 84 of 92 PageID# 4729

                                                                      1039


    1   defenses that it was made.          They certainly could assume

    2   that we were going to argue that the advice of counsel

    3   does not apply because he didn't fully reveal the facts

    4   and he lied about the -- about the existence of --

    5   about who the client was.

    6               And so I submit that it's fair for us to

    7   argue that that was one of the means by which it was

    8   not a lawful commercial transaction.

    9               THE COURT:       Well, that's why I have to go

   10   back and look at it.         Whether the substance of the

   11   superseding indictment is sufficient to cover what you

   12   are now claiming in substance were violations other

   13   than 612 or whether this constitutes some kind of a

   14   constructive amendment or improper variance from the

   15   superseding indictment.

   16               MR. GILLIS:       All right, Your Honor.         Thank

   17   you very much.

   18               THE COURT:       All right.     Mr. Turgeon, let me

   19   ask you:    With respect to this knowingly element in

   20   Count 2, is there any objection to making it clear that

   21   the knowingly element applies both to the defendant

   22   acting as an agent and also failing to notify the

   23   attorney general?

   24               MR. TURGEON:       I mean, essentially, Your

   25   Honor, the knowing requirement applies to every element


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 85 of 92 PageID# 4730

                                                                      1040


    1   of the offense.

    2               THE COURT:       Right.

    3               MR. TYSSE:       It's in Your Honor's discretion

    4   how best to explain that to the jury.

    5               THE COURT:       All right.

    6               MR. TURGEON:       Your Honor, there is one

    7   statute -- excuse me -- one decision that I wanted to

    8   cite for Your Honor in reference to that point I raised

    9   about the -- about whether -- to what extent proof of a

   10   cover-up can serve as evidence of the conspiracy.                  And

   11   that's the United States v. Mann case.              It's a Fourth

   12   Circuit case from --

   13               THE COURT:       Hold on a second.

   14               MR. TURGEON:       Excuse me?

   15               THE COURT:       Just one second.       I need to make

   16   those notes in the right place.

   17               MR. TURGEON:       Yes, Your Honor.

   18               THE COURT:       U.S. v. Mann?

   19               MR. TURGEON:       Mann with two Ns, a Fourth

   20   Circuit case from 1991.         We cited it previously.

   21               THE COURT:       What's the cite?

   22               MR. TURGEON:       I do not have the cite, Your

   23   Honor, but it is cited in our opposition on the Rule 29

   24   motion.

   25               THE COURT:       All right.


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 86 of 92 PageID# 4731

                                                                      1041


    1                MR. TURGEON:       It holds that cover-ups in

    2   highly regulated areas may be acts in furtherance of a

    3   criminal conspiracy.

    4                THE COURT:       All right.    Anything else on

    5   those?

    6                MR. TURGEON:       Could I have the Court's

    7   indulgence for just one moment, Your Honor?

    8         (Counsel confer.)

    9                MR. GILLIS:       Your Honor, leaning to one side

   10   whether you agree to rule with us on Mr. Turgeon's

   11   argument, I just respectfully submit that that last

   12   sentence is confusing.          It's such a compound sentence.

   13   I don't know whether it comes directly from some legal

   14   decision, but just for purposes of giving it to a lay

   15   jury, I believe it could be split up into perhaps more

   16   than one sentence to express the point that the Court

   17   is trying to express there.

   18                So if you will permit us, we'll take a crack

   19   at doing that as well.

   20                THE COURT:       All right.

   21                MR. GILLIS:       If the Court could also consider

   22   in the meantime what it might be willing to do with

   23   respect to perhaps clarifying that last sentence for a

   24   lay jury.

   25                THE COURT:       All right.


          Rhonda    F.   Montgomery     OCR-USDC/EDVA      (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 87 of 92 PageID# 4732

                                                                      1042


    1               MR. GILLIS:       Thank you, Your Honor.

    2               THE COURT:       Something else, Mr. Tysse?

    3               MR. TYSSE:       Well, just very briefly, if

    4   you'll indulge me.        I promise I'll be quick.

    5               First of all, the government mentioned that

    6   this was a -- you know, it was a surprise to them that

    7   the Court was going to require legal commercial

    8   transaction proof as part of the indictment last week.

    9   I don't think it should be a surprise because Your

   10   Honor's order of July 9 says that although Rafiekian is

   11   not charged with a FARA violation under 22 U.S.C.

   12   612(a), which is the only provision that the government

   13   mentioned at the hearing -- as we know, nothing about

   14   the substantive offenses in the indictment itself --

   15   these activities would violate FARA and, therefore, be

   16   illegal if they were covered activities and Rafiekian

   17   willfully engaged in them as an agent of the Turkish

   18   government without a proper FARA registration.

   19               The Court found it a close call but made very

   20   clear that was the only unlawful legal conduct -- I

   21   mean legal commercial conduct alleged.              And the defense

   22   has been preparing this defense based on that.                 Today

   23   we receive -- or last night, I guess, we receive the

   24   government's proposed instructions which for the first

   25   time mention a series of other alleged FARA violations.


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 88 of 92 PageID# 4733

                                                                      1043


    1   We think there's no evidence of any of these, Your

    2   Honor.

    3                But more importantly -- or just as

    4   importantly, I mean, if you look at some of this

    5   language, no persons of an agent or a foreign principal

    6   shall disseminate informational materials on behalf of

    7   a foreign principal without filing two copies of the

    8   materials.      There's no evidence in the record about

    9   whether or not any of that happened.

   10                And, again, if we had known that this was the

   11   nonlegal commercial activity that was going to be

   12   alleged, then we would have tailored the defense

   13   appropriately.      We just think it's way too late for the

   14   government to come forward with this sort of thing.

   15                THE COURT:      All right.

   16                MR. TYSSE:      Quickly, the second point, they

   17   mention the LDA shouldn't be a surprise to us either.

   18   LDA is not even mentioned in the indictment.                It's only

   19   been a part of the defense.          So the idea that we should

   20   have been expecting them to make some sort of argument

   21   that the LDA was illegal just, you know, beg's belief.

   22   There's -- it was never part of the government's case.

   23                THE COURT:      I think there was a motion in

   24   limine to prohibit any reference to it.

   25                MR. TYSSE:      That's true, Your Honor, exactly.


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 89 of 92 PageID# 4734

                                                                      1044


    1                Finally, with respect to the LDA too, Your

    2   Honor, there's no evidence that Mr. Rafiekian had any

    3   role in the filing of the LDA or its preparation other

    4   than that initial conversation.            I think the testimony

    5   is very clear on that.         So, again, you would be really

    6   asking the jury to essentially speculate on whether or

    7   not there may be some illegal -- by reading, you know,

    8   three or four or five pages of different complex LDA

    9   and FARA regulations and provisions, speculate that

   10   maybe something in there is illegal enough to go

   11   forward.     We don't think that's the --

   12                THE COURT:      All right.     I'll look at this.

   13                MR. TYSSE:      Thank you very much.

   14                THE COURT:      All right.     Here's what I'd like

   15   to do.     I think I'm going to release the jury until

   16   2:00.    I need to review these, and I'll come up with

   17   the Court's decision on how to proceed on these open

   18   issues under the instructions.            We also will distribute

   19   to you the balance of the instructions.              What I'd like

   20   to do is reconvene at 1:00.          Hopefully, we can get to

   21   you the other instructions or the revised instructions

   22   sometime shortly before that.

   23                All right.      Anything else before I bring the

   24   jury out and tell them how we're going to proceed?

   25                MR. TURGEON:      No, Your Honor.       Thank you.


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 90 of 92 PageID# 4735

                                                                      1045


    1                THE COURT:       All right.    The Court continues

    2   to reserve on the Rule 29 motion.

    3                MR. GIBBS:       Thank you, Judge.

    4                THE COURT:       All right.    Let's bring the jury

    5   out.

    6           (The jury enters at 11:14 a.m.)

    7                THE COURT:       Please be seated.

    8                Ladies and gentlemen, I want to let you know

    9   where we are.       As you know, all the evidence is in, and

   10   we're still dealing with some procedural issues that we

   11   need to complete.       So what I'm going to do is excuse

   12   you until 2:00 at which time I'm hopeful that we can

   13   reconvene, at which time you'll be given your final

   14   instructions.       Then we'll proceed with closing

   15   arguments following which you will begin your

   16   deliberations.

   17                So you're excused now until 2:00.             Have lunch

   18   or take a walk, clear your head, whatever you want to

   19   do.     But it's important that you do not begin any

   20   discussions about this case among yourselves or talk to

   21   anybody about this case.          So you're now excused until

   22   2:00.

   23           (The jury exits at 11:16 a.m.)

   24                THE COURT:       Why don't we have a seat for a

   25   moment.     I also wanted to just go through some of these


          Rhonda    F.   Montgomery     OCR-USDC/EDVA      (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 91 of 92 PageID# 4736

                                                                      1046


    1   instructions that I don't think apply.              There was a

    2   proposed instruction on opinion evidence by an expert

    3   witness.    I don't think we've had any experts.               Have

    4   we?   I don't think we have.

    5               MR. TYSSE:       No objection, Your Honor.

    6               MR. TURGEON:       No, Your Honor.

    7               THE COURT:       All right.     There was a proposed

    8   instruction on the credibility of witnesses,

    9   accomplices.      Again, I don't think that applies.             Any

   10   different view on that?

   11               MR. TYSSE:       No objection.

   12               MR. TURGEON:       No, Your Honor.

   13               THE COURT:       Likewise, immunized witnesses, we

   14   don't have any of that; do we?

   15               MR. TYSSE:       That's correct.

   16               MR. TURGEON:       No, Your Honor.

   17               THE COURT:       Nor informants, correct?

   18               MR. TYSSE:       Correct.

   19               MR. TURGEON:       No, Your Honor.

   20               THE COURT:       All right.     There's a proposed

   21   instruction on charts and summaries.             I don't think

   22   we've had any, have we, admitted or unadmitted?

   23               MR. GILLIS:       There has been just the listing

   24   of the e-mails and whatnot that the agent and the

   25   computer fellow -- the two computer guys put together,


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
Case 1:18-cr-00457-AJT Document 350 Filed 07/22/19 Page 92 of 92 PageID# 4737

                                                                      1047


    1   but I don't believe they constitute summaries.

    2               THE COURT:       Right.    Do you think we need an

    3   instruction on it?

    4               MR. GILLIS:       No, sir.

    5               THE COURT:       All right.     I won't give that.

    6               All right.       I think that's it.        We'll stand

    7   in recess until 1:00.

    8                ----------------------------------
                              Time: 11:18 a.m.
    9

   10

   11

   12

   13

   14

   15

   16

   17

   18

   19

   20

   21
              I certify that the foregoing is a true and
   22
         accurate transcription of my stenographic notes.
   23

   24
                                                     /s/
   25                                   Rhonda F. Montgomery, CCR, RPR


          Rhonda   F.   Montgomery     OCR-USDC/EDVA       (703)   299-4599
